Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3612 Page 1 of 128




          ATTACHMENT B
           
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3613 Page 2 of 128



     FITZGERALD KNAIER LLP 
          Kenneth M. Fitzgerald (State Bar No. 142505) 
          kfitzgerald@fitzgeraldknaier.com 
          David Beckwith (State Bar No. 125130) 
          dbeckwith@fitzgeraldknaier.com 
          Keith M. Cochran (State Bar No. 254346) 
          kcochran@fitzgeraldknaier.com 
          402 West Broadway, Suite 1400 
          San Diego, California, 92101 
     +1 (619) 241­4810 
     +1 (619) 955­5318 facsimile 
      
     WARREN LEX LLP 
          Matthew S. Warren (State Bar No. 230565) 
          Patrick M. Shields  (State Bar No. 204739) 
          Erika H. Warren (State Bar No. 295570) 
          16­463@cases.warrenlex.com 
          2261 Market Street, No. 606 
          San Francisco, California, 94114 
     +1 (415) 895­2940 
     +1 (415) 895­2964 facsimile 
      
     Attorneys for Plaintiff and Counter Defendant ViaSat, Inc. 
                              UNITED STATES DISTRICT COURT 
                            SOUTHERN DISTRICT OF CALIFORNIA 

     VIASAT, INC.                         )             Case No. 3:16­463­BEN­JMA 
     a Delaware corporation,              )              
          Plaintiff and Counter­Defendant,)             Declaration of Erika H. Warren in 
                                          )             Support of ViaSat’s Motion for Summary 
     v.                                   )             Judgment for Patent Misappropriation 
                                          )              
     ACACIA COMMUNICATIONS, INC.          )             Date: March 5, 2018 
     a Delaware corporation,              )             Time: 10:30 a.m. PST  
          Defendant and Counter­Claimant. )             Place: Courtroom 5A 
                                          )              
                                          )             Hon. Dist. Judge Roger T. Benitez 
                                          )             Hon. Magistrate Judge Jan M. Adler 
     __________________________________ )               Case Initiated:  January 21, 2016 
                                                                     

                       D ECLARATION OF  E RIKA  H. W ARREN IN  S UPPORT OF  M OTION FOR  S UMMARY  JU
                                                                                                      DGMENT  
                                                                                             3:16­463­BEN­JMA 
                                                                                                              
  
        
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3614 Page 3 of 128



   I, Erika H. Warren, declare as follows: 
       1.     I am an attorney licensed to practice in the State of California, and an attorney 
   at the law firm of Warren Lex LLP, counsel for ViaSat, Inc. (“ViaSat”) in this action.  I 
   have personal knowledge of the matters set forth herein and, if called as a witness, could 
   and would testify competently thereto. 
       2.     Attached as Exhibit 1 is a true and correct copy of provisional U.S. patent 
   application no. 61/435,278, filed on January 22, 2011.   
       3.     Attached as Exhibit 2 is a true and correct copy of provisional U.S. patent 
   application no. 61/521,263, filed on August 8, 2011.  
       4.     Attached as Exhibit 3 is a true and correct copy of the IP Core Development 
   and License Agreement between ViaSat and Acacia, dated November 20, 2009, which is 
   Exhibit A to ViaSat’s Complaint in this action. 
       5.     Attached as Exhibit 4 is a true and correct copy of the October 27, 2017 
   Expert Report of Dr. Paul Prucnal, served by Acacia in this action.  This exhibit is filed 
   under seal based on ViaSat’s concurrently filed Motion to File Under Seal Documents in 
   Support of Motion for Summary Judgment on Acacia’s Counterclaim for Patent 
   Misappropriation. 
       6.     Attached as Exhibit 5 is a true and correct copy of excerpts from the 
   deposition transcript of Dr. Paul Prucnal, dated December 4, 2017.  This exhibit is filed 
   under seal based on ViaSat’s concurrently filed Motion to File Under Seal Documents in 
   Support of Motion for Summary Judgment on Acacia’s Counterclaim for Patent 
   Misappropriation. 
       I declare under penalty of perjury that the foregoing is true and correct.  Executed on 
   February 2, 2018, in San Francisco, California. 
        
                                                                                                              
                                                   Erika H. Warren 




                           D ECL. OF  E RIKA  H. W ARREN IN  S UPPORT OF  M OTION FOR  S UMMARY  JU   DGMENT   
                                                 – 1 –                                       3:16­463­BEN­JMA  
                                                         
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3615 Page 4 of 128




                             CERTIFICATE OF SERVICE
         I certify that today I am causing to be served the foregoing document by
   CM/ECF notice of electronic filing upon the parties and counsel registered as
   CM/ECF Users. I further certify that am causing the foregoing document to be
   served by electronic means via email upon counsel for Acacia Communications, Inc.,
   per the agreement of counsel.
   Dated: February 2, 2018                         s/ Kenneth M. Fitzgerald
                                                   Kenneth M. Fitzgerald, Esq.
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3616 Page 5 of 128




                          Exhibit 1




                                   [Exhibit 1-1]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3617 Page 6 of 128



                 UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                             Ul\TfED STI\TES DEPA RTME'IT OF COMMERCE
                                                                            United States Patent and Trademark Office
                                                                            Adill"'· COMMISSIO'JER FOR PATENTS
                                                                                    PO Box 1450
                                                                                    Alexandria, Virgmia 22313-1450
                                                                                    \VVi\V.USpto.gov


  APPLICATION        FILING or
    NUMBER          37l(c)DATE             FIL FEE REC'D             ATTY.DOCKET.NO
  61/435,278       01/22/2011                  220                   ECC-0452-US
                                                                                                CONFIRMATION NO. 5581
31864                                                                        FILING RECEIPT
VIASAT, INC.
C/0 Stacy Nguyen                                                            111111111111111111111111]~!1]~~~~~~~~~1~UU~ ~1111111111111111111111111
PATENT DEPARTMENT
6155 EL CAMINO REAL
CARLSBAD, CA 92009
                                                                                                       Date Mailed: 03/15/2011



Receipt is acknowledged of this provisional patent application. It will not be examined for patentability and will
become abandoned not later than twelve months after its filing date. Any correspondence concerning the application
must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE, NAME OF
APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection. Please verify
the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please submit
a written request for a Filing Receipt Correction. Please provide a copy of this Filing Receipt with the
changes noted thereon. If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
Applicant( s)
                  Sameep Dave, Cleveland, OH;
                  Fan Mo, Cleveland, OH;
                  William Thesling, Cleveland, OH;
                  Matthew Nimon, Cleveland, OH;
                  Lawrence Esker, Cleveland, OH;
                  Yuri Zelensky, Cleveland, OH;
Power of Attorney:
Charles Pateros--50677


If Required, Foreign Filing License Granted: 03/11/2011
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 61/435,278
Projected Publication Date: None, application is not eligible for pre-grant publication
Non-Publication Request: No
Early Publication Request: No
Title
                High Rate Optical Communication

                  PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
                                                       page 1 of 3




                                                     [Exhibit 1-2]
                                                                                                                                              ACI004846
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3618 Page 7 of 128




application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.


Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
application for patent in that country in accordance with its particular laws. Since the laws of many countries differ
in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
foreign countries to ensure that patent rights are not lost prematurely.

Applicants also are advised that in the case of inventions made in the United States, the Director of the USPTO must
issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
serves as a request for a foreign filing license. The application's filing receipt contains further information and
guidance as to the status of applicant's license for foreign filing.


Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.


For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4158).


                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code, Section 184
                          Title 37, Code of Federal Regulations, 5.11 & 5.15
GRANTED

The applicant has been granted a license under 35 U.S.C. 184, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" followed by a date appears on this form. Such licenses are issued in all applications where
the conditions for issuance of a license have been met, regardless of whether or not a license may be required as
set forth in 37 CFR 5.15. The scope and limitations of this license are set forth in 37 CFR 5.15(a) unless an earlier
license has been issued under 37 CFR 5.15(b). The license is subject to revocation upon written notification. The
date indicated is the effective date of the license, unless an earlier license of similar scope has been granted under
37 CFR 5.13 or 5.14.


This license is to be retained by the licensee and may be used at any time on or after the effective date thereof unless
it is revoked. This license is automatically transferred to any related applications(s) filed under 37 CFR 1.53(d). This
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The grant of a license does not in any way lessen the responsibility of a licensee for the security of the subject matter
as imposed by any Government contract or the provisions of existing laws relating to espionage and the national
                                                       page 2 of 3




                                                     [Exhibit 1-3]
                                                                                                                      ACI004847
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3619 Page 8 of 128




security or the export of technical data. Licensees should apprise themselves of current regulations especially with
respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" DOES NOT appear on this form. Applicant may still petition for a license under 37 CFR 5.12,
if a license is desired before the expiration of 6 months from the filing date of the application. If 6 months has lapsed
from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).




                                                       page 3 of 3




                                                     [Exhibit 1-4]
                                                                                                                      ACI004848
     Case
Doc Code:  3:16-cv-00463-BEN-JMA Document
          TR.PROV                                                           87-2 Filed 02/02/18 PageID.3620 Page 9 of 128
Document Description: Provisional Cover Sheet (SB16)
                                                                                                                                                           PTO/SB/16 (11-08)
                                                                                                                      Approved for use through 09/30/2010 OMB 0651-0032
                                                                                                U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
                  Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number

                                         Provisional Application for Patent Cover Sheet
                  This is a request for filing a PROVISIONAL APPLICATION FOR PATENT under 37 CFR 1.53(c)

 lnventor(s)

 Inventor 1
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Sameep                                                 Dave                         Cleveland                OH                              us
 Inventor 2
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Fan                                                    Mo                           Cleveland                OH                              us
 Inventor 3
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

William                                                Thesling                     Cleveland                OH                              us
 Inventor 4
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Matthew                                                Nimon                        Cleveland                OH                              us
 Inventor 5
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Lawrence                                               Esker                        Cleveland                OH                              us
 Inventor 6
                                                                                                                                 I   Remove      I
 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Yuri                                                   Zelensky                     Cleveland                OH                              us
 All Inventors Must Be Listed- Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                         I     Add       I
 Title of Invention                                       High Rate Optical Communication

 Attorney Docket Number (if applicable)                   ECC-0452-US

 Correspondence Address

 Direct all correspondence to (select one):


 (!) The address corresponding to Customer Number                           0     Firm or Individual Name

EFS - Web 1.0.1

                                                                          [Exhibit 1-5]
                                                                                                                                                              ACI004849
     CaseTR.PROV
Doc Code: 3:16-cv-00463-BEN-JMA Document                                   87-2 Filed 02/02/18 PageID.3621 Page 10 of 128
Document Description: Provisional Cover Sheet (SB16)
                                                                                                                                                           PTO/SB/16 (11-08)
                                                                                                                      Approved for use through 09/30/2010 OMB 0651-0032
                                                                                                U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
                  Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number

 Customer Number
                                                                             31864




 The invention was made by an agency of the United States Government or under a contract with an agency of the United
 States Government.

 (!) No.
 0   Yes, the name of the U.S. Government agency and the Government contract number are:




EFS - Web 1.0.1

                                                                          [Exhibit 1-6]
                                                                                                                                                              ACI004850
     CaseTR.PROV
Doc Code: 3:16-cv-00463-BEN-JMA Document                                   87-2 Filed 02/02/18 PageID.3622 Page 11 of 128
Document Description: Provisional Cover Sheet (SB16)
                                                                                                                                                           PTO/SB/16 (11-08)
                                                                                                                      Approved for use through 09/30/2010 OMB 0651-0032
                                                                                                U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
                  Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it displays a valid OMB control number


 Entity Status
 Applicant claims small entity status under 37 CFR 1.27

 0   Yes, applicant qualifies for small entity status under 37 CFR 1.27

 ®   No

 Warning

 Petitioner/applicant is cautioned to avoid submitting personal information in documents filed in a patent application that may
 contribute to identity theft. Personal information such as social security numbers, bank account numbers, or credit card
 numbers (other than a check or credit card authorization form PT0-2038 submitted for payment purposes) is never required
 by the USPTO to support a petition or an application. If this type of personal information is included in documents submitted
 to the USPTO, petitioners/applicants should consider redacting such personal information from the documents before
 submitting them to USPTO. Petitioner/applicant is advised that the record of a patent application is available to the public
 after publication of the application (unless a non-publication request in compliance with 37 CFR 1.213(a) is made in the
 application) or issuance of a patent. Furthermore, the record from an abandoned application may also be available to the
 public if the application is referenced in a published application or an issued patent (see 37 CFR1.14). Checks and credit
 card authorization forms PT0-2038 submitted for payment purposes are not retained in the application file and therefore are
 not publicly available.

 Signature

 Please see 37 CFR 1.4(d) for the form of the signature.

 Signature        /Dr. Charles Nicholas Pateros #50,677/                                                    Date (YYYY-MM-DD}                   2011-01-22

 First Name                                        Last Name                                                Registration Number
                  Charles                                                  Pateros                                                              50677
                                                                                                            (If appropriate}

 This collection of information is required by 37 CFR 1.51. The information is required to obtain or retain a benefit by the public which is to
 file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection
 is estimated to take 8 hours to complete, including gathering, preparing, and submitting the completed application form to the USPTO.
 Time will vary depending upon the individual case. Any comments on the amount of time you require to complete this form and/or
 suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department
 of Commerce. P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. This
 form can only be used when in conjunction with EFS-Web. If this form is mailed to the USPTO, it may cause delays in handling
 the provisional application.




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                                                                          [Exhibit 1-7]
                                                                                                                                                              ACI004851
         Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3623 Page 12 of 128
                                                   Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of
the attached form related to a patent application or paten. Accordingly, pursuant to the requirements of the Act, please be
advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the
information solicited is voluntary; and (3) the principal purpose for which the information is used by the U.S. Patent and
Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your
submission, which may result in termination of proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1.         The information on this form will be treated confidentially to the extent allowed under the Freedom of Information
          Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records may be disclosed to the
          Department of Justice to determine whether disclosure of these records is required by the Freedom of Information
          Act.
    2.         A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to
          a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
          negotiations.
    3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
          request involving an individual, to whom the record pertains, when the individual has requested assistance from the
          Member with respect to the subject matter of the record.
    4.         A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need
          for the information in order to perform a contract. Recipients of information shall be required to comply with the
          requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5.         A record related to an International Application filed under the Patent Cooperation Treaty in this system of
          records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
          Organization, pursuant to the Patent Cooperation Treaty.
    6.         A record in this system of records may be disclosed, as a routine use, to a n other federal agency for purposes
          of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).
    7.         A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
          or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.
    8.         A record from this system of records may be disclosed, as a routine use, to the public after either publication of
          the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
          may be disclosed, subject to the limitations of 37 CFR 1 .14, as a routine use, to the public if the record was filed in an
          application which became abandoned or in which the proceedings were terminated and which application is
          referenced by either a published application, an application open to public inspection or an
          issued patent.
    9.         A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




                                                            [Exhibit 1-8]
                                                                                                                           ACI004852
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3624 Page 13 of 128



      Provisional Patent Application                                            January 22, 2011


                         PROVISIONAL APPLICATION FOR PATENT

      TITLE:     High Rate Optical Communication
      INVENTORS: Sameep Dave, Fan Mo, Bill Thesling, Matt Nimon, Lawrence Esker, Yuri
                 Zelensky
      DOCKET:    ECC-0452-US
      DATE:      January 22, 2011

      Cross Reference to Related Applications
      NOT APPLICABLE

      Federal Research Statement
      NOT APPLICABLE

      Background of Invention
      While fiber optic channels are considered very good for data transmission, this
      assumption breaks down at high rates such as 40-100 Gbps and beyond. At these rates,
      new modulation, demodulation and error correction techniques are required.

      Summary of Invention

      Enabling technologies for the successful transmission and reception of high rate digital
      signals over optical channels are presented. Implementation strategies for low-
      complexity, easily realizable systems arc also disclosed. Although the solutions arc
      presented in the context of an optical transport environment, the techniques and
      embodiments have applicability across a wide spectrum of applications.

      Detailed Description
      A typical optical data transport system will comprise a data source, a data transport layer
      (framer), a FEC coder, a modulator, a transmitter fiber interface, a fiber connection, a
      receiver fiber interface, a demodulator, a FEC decoder, a data transport layer de-framer,
      and a data sink (user). This document will focus primarily on the demodulator and FEC
      decoder, but solutions presented will impact the design and implementation of other
      system components.




      ViaSat, Inc. Docket Number: VS-0452-US                                         Page 1 of 55




                                             [Exhibit 1-9]
                                                                                                    ACI004853
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3625 Page 14 of 128



      Provisional Patent Application    Digital Demodulator -1                  January 22, 2011


      Digital Demodulator architecture for 40 I 100 Gbps OTN and beyond

      Problem        40 I 100 Gbps OTN systems require a digital demodulator to reliably
      receive the signals at the receiver

      The high data rates make the receiver design very complex as very high degree of
      parallelism is required

      Optical channel presents a variety of unique impairments like CD, PMD, PDL and other
      types of distortions that need to be tracked I corrected digitally

      Solution       An architecture for a digital receiver that can demodulate the signal in
      presence of the various optical impairments with very low implementation loss and
      reasonable implementation complexity that allows for implementation in latest
      technology ASICs

      Technical Keywords OTN, 40 I 100 I 400 I 1000 Gbps, Demodulator, Equalizer, DSP

      Novel This is a new demodulator design that can process the signal with all the optical
      impairments in a highly parallel fashion while keeping reasonable implementation
      complexity.

      Inventors      Fan Mo, Bill Thesling, Matt Nimon and Sameep Dave



                        Digital Demodulator architecture for 40 I 100 Gbps


      The Digital Demodulator processes the samples of the analog I and Q components of the
      two polarization components to recover the transmitted data. At the input side the
      Demodulator accepts four parallel streams carrying HI (Horizontal I), HQ (Horizontal Q),
      VI (Vertical I) and VQ (Vertical Q) samples. Each stream will contain multiple samples
      per clock.


      At its output the Demodulator provides demodulated hard-decision data to the HDFEC
      decoder. The Demodulator may or may not identify the beginning of a FEC frame
      depending upon the mode of operation. Additionally the Demodulator may receive
      feedback signals from an internal or external (to the ASIC) HDFEC Decoder regarding
      the convergence status.


      The top level demodulator design is show in Figure 1.




      ViaSat, Inc. Docket Number: VS-0452-US                                         Page 2 of 55




                                             [Exhibit 1-10]
                                                                                                    ACI004854
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3626 Page 15 of 128

    Provisional Patent Application Digital Demodulator -1                   January 22, 2011




                                                             Digital Demodulator
                                                                                       ,......................................................................................
                                                                                                                                                                                 1
                                                                                                                                                                                     t' LO Frequency
                                                                                                                                                                                           Control




     H-pol:l (128x6)" ·HI~\$
    H-poi:Q (128x6), ·H!l~ ~




                                                                                                                                                                          . ,, Host Processor
     Gain Control ,~ ··                                                                                                                                                ''*~' ~~-    Bus




    Figure 1: Demodulator Top Level Block Diagram




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                                                            [Exhibit 1-11]
                                                                                                                                                                                                       ACI004855
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      The Demodulator may have a control and monitor interface bus connected to a host
      processor allowing for configuration of demodulator parameters (filter coefficients, loop
      gains, etc.) and extraction of demodulator status.
      The following sections detail the functional specification for the major sub-modules
      within the demodulator design.

      Quadrature Error Filters
      The Quadrature Error Filter (QEF) module provides a collection of miscellaneous data
      formatting, error detection and correction functions. Figure 2 shows the top level
      functional block diagram for the QEP module.



       Adc_HI (128x6)   ---1 ,.,_~




      Adc_HQ (128x6)-
                                     Data Select
                                      & Formal


       Adc_VI (128x6)" ..y,.,_,




                                                   Figure 2: Quadrature Error Filters Top Level


      Input data samples are expected to be in binary-offset I offset-binary format coming in
      from the ADC and it will be converted to the required 2's complement (2C) format for
      the processing inside the DSP.


      The incoming HI, HQ, VI and VQ streams also can be independently swapped and
      inverted if needed. This allows compensating for any design issues that might translate
      into an accidental inversion or IQ swap.


      Each data stream is processed through a skew correction block to remove polarization
      skew (between H and V poles) as well as T-Q skew within a pole.


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                                                                  [Exhibit 1-12]
                                                                                                                     ACI004856
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      For polarization skew removal a delay element will be used that can delay the poles with
      respect to each other by a programmable number of integer sample durations. Shift values
      up to +1- 4 samples will be supported on each pole for a maximum relative offset of +1- 8
      samples. This will allow coarse polarization skew removal at calibration time. Any
      residual sub-sample duration polarization skew at calibration time or any slow time
      variation in the polarization skew will be tracked out by the PMD equalizer. Please note
      that this control will be available independently on the I and Q streams within a
      polarization to help coarse I/Q skew removal.


      The QEF module provides for detection and removal of four types of quadrature signal
      errors: IJQ Skew, DC bias, IJQ amplitude imbalance, and IJQ phase imbalance. All four
      error detectors can be independently enabled or disabled via the APB processor interface,
      and the detected error values are output as status values via this same interface.

      Frequency Offset Removal
      The Frequency Offset Removal (FOR) module will perform a frequency rotation on the
      data samples coming out of the QEF module. The amount of frequency rotation is
      controlled by the frequency error input that is sourced by the Carrier Prequency
      Acquisition and Tracking (CFAT) module. This frequency offset removal function is
      only intended to remove residual frequency left from the LO laser tuning in the optical
      domain.


      Figure 3 shows the top level block diagram for the frequency offset removal.




                                             Qet_HI_o ~~~~~~~,.~~ Vector Rotation                     ~~~~~s--    For_HI_O
                                            Qef_HQ_O ~ ~ "''L.--~~--_j                                    ~"-'    For_HQ_O


                                     ~~~~~~~~ ~~~~~~~~~ ~~~~ ~~~~~~~~~ ~~~~ ~~~~~
                                                                                         "'
                                                                                    s--CNCTJ
       Qef_HI (128x8)    ·--·l"-"'           Qef_VI_O            mm       "''I
                                                                 Vector Rotation                          +    For_VI_O
                                                                                                                                          For_HI (128x8)
                                            Qef_VQ_O ~~~~~~'>~1~.------~                                   ,_, For_vo_o

      aef_Ha (12axa) ----r·~­                                                                                                             For_HQ (128x8)

       aef_vl (128x8)    -----~~                                                                                               -----~"-   For_VI (128x8)

      Qef_VQ (128x8)     ·----~'                                     um   :1        Vector Rotation
                                                                                                           s-·
                                                                                                      ~~~~~«-~
                                                                                                                  For_H1_127
                                                                                                                  For_HQ_127   "'"""'     For_VQ(128x8)


              Freq_Err

                                          Qef_VI_127             ~                                         ~      For_VI_127
                                                                          ;:.-1     Vector Rotation
                                        Qef_VQ_127                        ~'~                         ~~~~~;:.,   For_VQ_127


      Figure 3: Frequency Offset Removal Top Level


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                                                                              [Exhibit 1-13]
                                                                                                                                                           ACI004857
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      Bulk Dispersion Compensation
      The Bulk Dispersion Compensation module removes the bulk Chromatic Dispersion
      (CD) from the horizontal and vertical polarization channels. The compensation is applied
      via a filter in the frequency domain. The amount of CD correction is controlled by the
      CD filter inputs that are derived outside of the demodulator and provided via the host
      processor control and monitor interface. Figure 4 shows an example top level block
      diagram for the module.



                                    ··"'-~ R                          r-::::1
                                                           co';;~lex"1 i~~t
                                                                                                  Output .... "'-' Cdc_HI (128x8)



                                             .
       For HI (128x8) ·····        Input
           -                    I  Data   ··                                 I   o.,_, Filter      Data
       For_HQ (128x8) ----·--"'-' Process                             ~          •                Process .•. "'-'· Cdc_HQ (128x8)

                         [                                                       .

      ~:~~~~ ~~~::~::~ ::l ~c:::;:::·~~:_ ~ ~j
        For_VI (128x8) ..•..

       For_vo (128x8)    ....
                                1
                                    . ." ' - ,




                                r"'"1
                                                  Input
                                                  Data
                                                 Process
                                                           co~~lex~
                                                                       256            R'   ""
                                                                                     ~-- Filter
                                                                                                                  Cdc_VI (128x8)

                                                                                                                  Cdc_VQ (128x8)



                                                    Figure 4: Bulk Dispersion Compensation Top Level



      The CD compensation (CDC) for any given sample requires 'input' from a range of data
      samples before and after the sample.


      The Horizontal and Vertical I!Q data pairs are processed through two independent,
      equivalent processing paths. A single control state machine provides the proper enable
      and block alignment logic to all other blocks in the module.

      The output of the PPT is complex frequency domain data. This data is input to the filter
      block where a frequency domain filtering operation is performed. The complex FFT
      outputs are also sent to a data buffer to be read out via the control and monitor block.
      Note that this is just a snapshot buffer, only a single FFf result is required to be stored at
      any given time.
      The output of the filter hlock is again complex pairs of CD corrected frequency domain
      data per clock. The data is input to the 256-point IFFf for conversion back to the time
      domain. The state machine controls the flow of data through the IFFf.

      Matched Filter Decimator
      The Matched Pilter Decimator (MPD) module implements an interpolation function that
      provides decimation from the ADC sample rate to 2x the symbol rate. Each of the four


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                                                                             [Exhibit 1-14]
                                                                                                                                     ACI004858
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      data streams has an independent bank of FIR filters with fixed coefficients. The filter
      coefficients implement a Raised Cosine (RC) low-pass filter with roll-off of 0.4. The
      symbol timing error input value fine tunes the decimation rate such that one of the two
      samples per symbol output is an on-time sample. The sample block assembler takes in
      the data samples from the filter bank and groups the samples such that valid data output
      from the MFD block always contains 0 or 128 data samples per clock per stream. Note
      that valid output data is not available on each clock and the data valid output indicates
      when valid output data is available. The top level MFD design is shown in Figure 5.


                                                                                          Bank of 128 Interpolation Filters
                                                                                         127 122                                              127
                                                                                       {    '·'  } ~     FIR Filter      I
                                                                                       {
                                                                                         126 121
                                                                                             ' }~        FIR Filter                   lu      126


                                -n.~--:~~,l~'.
                                                                                                                                                          -"'             -----~~-   Mfd_HI (128x8)
         Cdc_H, (128x8}                                                                                                                                   {)
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                                                                                                                                                                    ~          ~~- Mfd_Data_Valid_H
                                            0
                                            z            ~
                                                         ~   . . . . . ~...                                                                               ~~
                                                                                                                                                          (/)
                                     ·~   ·* ~   ~                                         Bank of 128 Interpolation Filters                                              -----l»· Mfd_HQ (128x8)
        cdc_Ho (12sxs)           ·r·""···"+---+---------~-                                                                                                      ~

      stat_Sym-Err ( 13) --- --•''--·''---1
        Stat Sym Valid ·· ··· >··· l
                                                 L_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ l&-~1                               ACT
                                                                                                                                                                4
                                                                                                                                                                ~


                                                                                                                                                                _J·~ ---~·- APB Interface
            -   -Mode -- ---·              ~      r--·-------------------------------------------------------------~-

          Cdc VI ( 128x8) -- __     ,,,,.,,.l..J. . . . .~,                                                                                                     ~
                                                                                                                                                                ~
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                                    I'S'~· ~~                                                                                                                             • ---~-..- Mfd_VI (128x8)
                                                                                           Bank of 128 Interpolation Filters
               -                                 wI""1,---,'S---
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                                                         ~                    L___ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                          -"'
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                                                                                                                                                           {)       ~
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                                                                                                                                                          <ll       E        ···:>-· Mfd_Data_Valid_V
                                                         ~                    .--------------,
                                                         ~........~···                                                                                    "i5..5l
                                                                                                                                                           E en
                                                                                                                                                          ro<:C
                                                                                           Bank of 128 Interpolation Filters                              (/)
                                                                                                                                                                          -----l&-~· Mfd_VQ (128x8)




      Figure 5: Matched Filter Decimator Top Level



      The symbol error is a signed value providing for a maximum symbol timing correction
      capability of certain % of the baud rate. The symbol timing error is input to the NCO
      bank where it is added to a nominal NCO step value to produce a corrected NCO step.
      The nominal NCO step values are pre-computed and fixed for the nominal symbol rates
      and selected via a configuration register in the ACT block. The corrected NCO step
      value is also reported as status.


      There are four banks of interpolation filters in the module with each banks processing one
      of the data streams. Each filter bank takes in one data word of sample data and an array
      of interpolation phases per clock. The filter blocks filter the incoming data through the
      filter banks with the interpolation phase for each filter driven by the corresponding



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                                                                                            [Exhibit 1-15]
                                                                                                                                                                                                      ACI004859
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      interpolation phase value. The filter bank produces 2 samples per symbol out for each
      data stream.


      The decimation rate is controlled by a NCO so the number of output samples produced
      per clock is not a constant. In order to simplify data processing through the remainder of
      the Demodulator, data samples are gathered and assembled into blocks of fixed number
      of samples per stream per clock by the sample block assembler. The assembly function is
      identical for the I and Q streams in each polarization so one assembly block services two
      streams.


      As the ratio of the output/input samples per clock is not exact, there will be clock cycles
      where the MFD does not output any data. The Mfd_Data_Valid_x output is asserted only
      on clocks with valid output data.


      The MFD design is optimized for a particular decimation factor. So the ADC sample rate
      has to be close to 2 + E times the symbol rate. TheE will be 0.009 for the Polo design.

      PMD /PDL Compensation
      The PMD/PDL compensation module utilizes adaptive equalization to compensate for the
      cross polarization interference, IQ channel interference, adjacent symbol interference
      introduced by PMD and PDL in optical channel and other residual impairments (like
      residual CD). The adaptive equalizer (EQ) takes in data at 1 or 2 samples/symbol from
      the MFD and processes the data through a bank of FIR filters with adaptive filter tap
      coefficients. The top level block diagram for this module is shown in Figure 6.




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                                            [Exhibit 1-16]
                                                                                                    ACI004860
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           Mfd_HI (128x8)                                                  """    ~-   Pmd_HI (128x8)



                                                                           [
           Mfd_HQ (128x8)                                                   ------~x   Pmd_HQ (128x8)

           Mfd_VI (128x8)                      FIR Filter Bank             ~-------~" Pmd_VI (128x8)
                                  '""'"~1
           Mfd_VQ (128x8)         """"~'                                    ...        Pmd_VQ (128x8)

           Mfd Data Valid
                                            ~----,;-i\------,l<
                                                                      ~--f
                                                                           1      ~, Pmd Data_Valid

                                               ~                     4'W
                                                ~

                  Eq_lnit_Taps .....   ~X
                                              Adaptive EQ Tap              x""l        · Eq_Enable
                                              Update Algorithm
                                            '---------__jx""                   r· · · ·   Pol Lock Invalid

      Figure 6: PMD/PDL Compensation Top Level




      The PIR filter bank consists of four, H)-tap real or complex filters operating at 1 or 2 taps
      per symbol. A conceptual view of the filter bank is shown in Figure 7. Each quadrant in
      Figure 7 is a complex filter.




                                        Figure 7: PMD Filter Bank


      The filter taps can be initialized through the control and monitor interface. Generally the
      filters along the diagonal are initialized as all-pass filters with a center tap weight of 1.0



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                                                    [Exhibit 1-17]
                                                                                                                   ACI004861
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      and all other taps set to 0.0. The rest of the filters are initialized with all zero tap weights.
      The taps are updated by the adaptive EQ tap update algorithm when enabled.


      The adaptive EQ tap update algorithm may be a Constant Modulus Algorithm (CMA).
      This algorithm drives the constellation points on each polarization (at optimal symbol
      timing) to a circle with the desired radius with minimum radius variation.


      The adaptive EQ will converge, with high probability, to a solution that properly
      dccouplcs the two polarizations. 'lbcrc arc however corner cases where the EQ will
      converge to output the same polarization on both polarization outputs. This error event is
      detected downstream by the FEC frame synchronizer. When the error is detected, the
      Pol_Lock_Invalid signal is asserted. The assertion causes the filter taps for the Vertical
      pole output to be reset.


      The module generates all the on-time output samples but generates only half the off-time
      samples. This helps keep the design size smaller and is sufficient for the symbol timing
      tracking needs of the following modules.

      Symbol Timing Acquisition and Tracking
      Symbol Timing Acquisition and Tracking (STAT) may be achieved by means of an
      early/late symbol radius matching scheme and PI controller. This module also has a
      symbol timing lock detection mechanism that outputs a symbol lock indicator. There are
      two sets of gains for the PI controller (wide band for acquisition and narrow band for
      tracking). When not in timing lock, the wideband gains are used, otherwise, the
      narrowband gains are used. The top level design is shown in Figure 8.



       Pmd_HI (128x8) ---- %'                                                                                         _,,_ Sym_Err
                                                  Early/                          ~-~~         -------------------

                                                   Late                 J3
                                                                Avg_ I f>
                                                           n''1 Block
                                                  Power
                                                  Detect                                                ~-~ -------- Sym_Gain_Acq
                                                                                         -----------------~~
      Pmd_HQ (128x8) ---- %'     ~                                           ~·
                                                                                                                             Sym_Gain- Trak



                        T
                                 :::J                                                                   ;;,
       Pmd_Data_Valid - _,_, CO
                                 .m                                     (+)                                    --




       Pmd_VI (128x8)            8                Early/
                                                   Late    ,,1 Block I [>•
                                                                             -~
                                                                                  ~-*'
                                                                                            {£]    -~
                                                                                                              -----   _,_, Sym_Lock

                                                  Power        Avg_
                                                  Detect
                                                                        1-13                        ------------- ----       Sym_Lock_Thresh
      Pmd_VQ (128x8) ----%'                                                                                           ----
                                                                                                                             Sym_Lock_Aipha



                                Figure 8: Symbol Timing Acquisition and Tracking Top Level


      'lbc incoming I and Q data at 2 samples/symbol represents data samples that arc on-time
      and Y2 of a symbol period off from on-time. Each of the incoming data sets (I and Q) is
      processed through two 12-tap interpolating FIR filters. The FIR filter coefficients are


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                                                      [Exhibit 1-18]
                                                                                                                                               ACI004862
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      fixed and have been designed such that one set of filters interpolates the data by 1,4 of a
      symbol period early and the other set by ',4 of a symbol period late.


      The early and late I/Q pairs from each polarization are input to a pair of early/late power
      detection modules. The symbol timing error in each polarization is calculated as the
      early radius value minus the late radius value. The raw error values are input to a pair of
      block averaging functions that average the errors.


      'lbe average error values from the two polarizations arc multiplied by a weighting factor
      (13) and summed to produce an average symbol timing error for the combined dual-
      polarization signal. The nominal value for 13 is 0.50 but it can be programmed in the
      range {0.0, 1.0}.


      The composite average error value is used to update a PI controller once per data block.
      The PI controller output is the symbol timing error that is fed back to the MFD to adjust
      the symbol timing. The PI controller gains are selected by the state of the Sym_Lock
      signal. When not in symbol lock, the wide band acquisition gains are used, otherwise,
      the narrow band tracking gains are used.


      The composite average error value is also used to update an IIR filter. The output of the
      IIR filter is compared against a user configurable error threshold value. When the filter
      output drops below the threshold, symbol lock is declared.

      Carrier Frequency Acquisition and Tracking
      The Carrier Frequency Acquisition and Tracking (CF AT) module is responsible for
      acquiring as well as tracking carrier frequency. Carrier frequency acquisition is achieved
      by means of a FFT with appropriate averaging and peak frequency component detection.
      Carrier frequency tracking is achieved hy means of a 2-point DFT with appropriate
      averaging and variable tracking bandwidth. The frequency error is processed through a
      PI controller to produce a filtered frequency error. CFAT module also has a carrier
      frequency lock detection mechanism that outputs a freq_lock indicator. When not in
      frequency lock, the wide DFT bandwidth is used, otherwise, the narrow DFT bandwidth
      is used. The freq_lock signal is also used to decide if the FEC frame synchronizer (FFS)
      module shall forward data to the decoder. The top level design is shown in Figure 9.




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                                            [Exhibit 1-19]
                                                                                                    ACI004863
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                                                                                                                                                           LO_Freq_Gain

                                                              Peak
                                                              Detect
                                                                       ---   ----------------------------~0-------u"-"
                                                                                                                                                     ~~~~>--   LO_Freq_Err
                                                                                                        :-~'<)




                                                                                         •'''~                    (.:t-)             ~~~~~~~~~~~~~    ,,   Freq_Err
      Pmd_Data_Valid      ...
                       ---~
                                                                                         ,,                          '---.--.---/:
                                                                                                    :--... j Pgain f---·~        !

                                                                                                                 ~~~~~~~~~~~~~~~~~~~~~~~~~~~         ~~~   Freq_Gain
                                                                                                                                                           Freq_Lock_Aipha
                                                                                                                                                           Freq_Lock_Thresh
                                                                                                                                               ~~~   '' Freq_Lock




                                Figure 9: Carrier Frequency Acquisition and Tracking Top Level


      The CFAT module operates on the on-time I/Q data samples from both polarizations.


      To keep design complexity down, the module does not operate on all data samples, rather
      on blocks of contiguous symbols once every few clocks to allow processing time between
      blocks.


      The incoming data is processed through a 48 conversion block to collapse the QPSK
      modulation down to a tone. The data out of the 48 conversion block is processed through
      one of two paths depending on the mode of operation. At start-up the module will be in
      acquisition mode until the bulk frequency offset measurement is within the tracking
      bandwidth of the frequency tracking loop. Once that process is complete, the module
      will operate in tracking mode.


      The data output from the 48 conversion block in this module is output from this module
      for use in the Carrier Phase Recovery (CPR) module.

      Carrier Phase Recovery
      Carrier Phase Recovery (CPR) may use a feed-forward algorithm utilizing a Block Phase
      Estimator (BPE) and a phase rotation function to remove residual frequency and phase
      errors. CPR module operates on the on-time data samples produced by the PMD
      compensation module. The top level carrier phase recovery module diagram is shown in
      Figure 10.




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                                                       [Exhibit 1-20]
                                                                                                                                                                              ACI004864
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                                                                    Block
       4 Theta H data                                     :f~
                                                                   Phase
           from CFAT                                         /
                                                                  Estimator

                                                                      *
                                                                      ~


                                               ~~~~ r-~
         Pmd_HI (64x8 )     '" ""'"""""'~'                                           ~'-     Cpr_HI (64x8)
                                                                              [~~~~-
                                                                    Phase
                                                                   Rotator            ~-     Cpr_HQ (64x8)
        Pmd_HQ (64x8 )      "" """"""""'*'''          !'""'""~'

       Pmd Data Valid --- ------*'"                                                     ~-   Cpr_Data_Valid
                                                                    Block
       4 Theta V data                                       ',     Phase
          from CFAT                                          /

                                                                  Estimator

         Pmd_VI (64x8 ) "" """""""'"~'                                *
                                                                      ~


                                               ~~~~ r-~
                                                                                      ~-     Cpr_VI (64x8)
                                                                    Phase
                                                                   Rotator
                                                                              ['""""'
        Pmd_VQ (64x8 )      '" '""""""""~'            I'""""~'                r------" ~'-   Cpr_VQ (64x8)

                                 Figure 10: Carrier Phase Recovery Top Level



      The on-time data from both polarizations is input and processed through independent,
      identical processing paths. CPR also needs the I/Q data pairs per polarization to be
      collapsed to a tone. A similar 48 conversion occurs in the CFAT module. So the 48 data
      is output from CFAT and input to this block thus eliminating the 48 conversion from this
      module.


      The 48 data is processed through a BPE to track the phase offsets. The window size of
      the BPE will be configurable over a small set of fixed values. Within each window, a
      phase is estimated based on all the 48 data symbols. The estimation window slides half
      window size at a time.


      The on-time data is also delayed through a delay block to align each symbol in the center
      of the BPE window.


      The delayed data and phase correction value out of the BPE are input to a phase rotator
      that rotates each symbol by the phase correction value.

      Differential Decoder
      The Differential Decoder (DDI) module is responsible for accepting symbol streams from
      the CPR (at 1 sample per symbol) and generating a hard-decision output data stream for
      the FEC Frame Synchronizer (FFS) module.



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                                                   [Exhibit 1-21]
                                                                                                                 ACI004865
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      In DQPSK mode the incoming data is differentially decoded inside the DDI module and
      the resulting hard-decision output is sent out to the FFS module.


      In QPSK mode the differential decoding is bypassed and just the soft-decision or hard-
      decision (based on just the sign-bit of the incoming symbol data) is sent out to the FFS
      module.


      The top level block diagram of DDI module is shown in Figure 11.




                 Cpr_HI (64x8) """'""~

               Cpr_HQ (64x8) "'"" ""~''"
                                                Differential
                                                 Decoder        -i                                 ~-


                                                                                                   ~-
                                                                                                         Ddi_HI (64)

                                                                                                         Ddi_HQ (64)

               Cpr_Data_Valid            ~"-                                                        w- Ddi Data Valid

                 Cpr_VI (64x8) ""'"    ""~'                     ................................
                                                                                                   ~,    Ddi_VI (64)
                                                Differential
                                                 Decoder
                Cpr_VQ (64x8) ------'""'~"'                     .................................  ~'-   Ddi_VQ (64)

                                 Figure 11: Differential Decoder Top Level




      In DQPSK mode DDI uses two consecutive data symbols within the same polarization to
      figure out the most likely transition which determines the hard-decision information that
      needs to be sent out to the HDFEC Decoder.


      In DQPSK multiple basic pre-coder options may be supported to cover for any transmit
      and receive implementation mismatches.


      Similar flexibility may be provided for QPSK as well where the 2C sign bit of the symbol
      can be the same as the data bit or the inverse of the data bit.



      FEC Frame Synchronizer & FEC Interface
      The FEC Frame Synchronizer (FFS) module will help in achieving frame
      synchronization. The module will consist of three major blocks as shown in Figure 12.




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                                               [Exhibit 1-22]
                                                                                                                                       ACI004866
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      Provisional Patent Application                              Digital Demodulator -1                    January 22, 2011


      The Data Alignment block may allow several degrees of freedom for skewing, swapping
      and rotating the channels with respect to each other to help align the channels correctly
      for the Frame Sync Detection module in the FFS or in an external device be able to
      decode the channels correctly.

      The Frame Sync Detection module in the FFS may implements a hard-decision or soft-
      decision correlation algorithm with synchronization state machine to search for and
      synchronize to a known pattern I Unique Word (UW). This module detects and
      synchronizes to the UWs on both polarizations and helps realign the data stream
      according to the transmitted order after the UWs have been correctly detected. Note that
      in mode where UW is not present this module may rely on feedback from an external
      device that is capable of providing feedback signals to help the Data Alignment block
      tweak the alignment between the channels till correct synchronization is achieved.

      The Clock Transfer module may be responsible for taking the parallel data bus at the
      internal core clock to a different format bus at a clock speed suitable for the Decoder I
      Deframer following the DSP.

                                                                    Freq_Lock
                                                            Syr;n _Lock
                                                                  ~
                                                                           !
                                                                           ~



                                                                  *
      Ddi_Data_Valid             ---------------------~-----~'·
          Ddi_HI (64) -------------------------~'
         Dd i_ H Q ( 64) --------------------- ----~-
                                                                  ' 'Data
                                                                          *L-------------~

                                                                                    Clock
                                                                                              t
                                                                                              -- -~-
                                                                                                       Dmod_Data (128)
                                                                                                       Dmod Data Valid
             Ddi_VI (64)         --------------------------~'     Alignment        Transfer
                                                                                                 *''   Dmod Data Start

            Dd i_ v o <64 r-----------------------~-




                                                                   Frame                               Pol- Lock- Invalid
                                                                    Sync                               Pol_Offset [3:0]
                                                                  Detection                            Pol Offset Valid




                                                       Feedback from
                                                     external FFS device


                            Figure 12: FEC Frame Synchronizer and FEC Interface Top Level




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                                                                      [Exhibit 1-23]
                                                                                                                               ACI004867
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      Hard or soft correlation may be used to correlate the incoming complex samples in each
      polarization with the expected complex UW pattern. The correlation results are compared
      to a programmable threshold to decide if UW is detected. In DQPSK mode there is no
      need to solve the IQ phase ambiguity within each polarization. Only in-phase correlation
      (I to I, Q to Q) is required. And the correlation peak will always be positive.

      In QPSK mode this module will resolve the phase ambiguity at every UW.




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                                           [Exhibit 1-24]
                                                                                                 ACI004868
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      Provisional Patent Application   Soft-input generation -2                  January 22, 2011



      Soft-input generation for soft-decision PEC decoding of a differentially encoded signal

      Problem        Currently in 40 I 100 Gbps OTN (Optical Transport Network) systems
      hard-decision PEC (Porward Error Correction) schemes are being used.

      Also because of high phase noise differential encoding is being applied.

      Soft-decision FEC (SDFEC) provides higher performance gains if a good quality soft-
      input can be generated for the Decoder in presence of differential encoding.

      Solution       Algorithm for soft-input I LLR generation that preserves the BER-in I
      BER-out relationship for the SDFEC and is suitable for high speed implementation
      Simplifications to the algorithm for high-speed implementation

      Technical Keywords Soft-decision decoding, differential encoding I decoding, DQPSK,
      SDFEC

      Novel This is a new technique. In 40 I 100 Gbps OTN use of SDFEC is not prevalent.
      Just generating a soft-input I LLR that preserves the SDFEC performance is a innovation.
      Applying this at 40 I 100 Ghps with low implementation complexity is another
      innovation.

      Inventors      Pan Mo and Sameep Dave

                           Differential Encoding & Decoding Algorithm


      Differential Encoding

      The Differential encoding is applied with QPSK modulation separately in horizontal and
      vertical polarizations. Figure 1 shows the differential encoding method. The red
      constellation dots, labeled as (Dl,DQ), represent the output QPSK symbols from the
      differential decoder. The transition between the constellation symbols are decided by the
      input symbols, labeled as (CI, CQ), to the differential encoder.




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                                            [Exhibit 1-25]
                                                                                                    ACI004869
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      Provisional Patent Application     Soft-input generation -2                  January 22, 2011


                                                        Q

                                                            10




                     (Cii CQ;)=10




                                                            10


                                    Pig. 1 Ditlerential encoding method

      The differential encoder follows the following rules:

      Initialization: assume the previous transmitted symbol pattern is 00 so (DI -1, DQ-1)    = (-
      0.707, -0.707)

      If the input symbol (CI 0 ,CQ0 ) to the differential decoder at time 0 is

      00: no rotation is applied, (DI 0 ,DQ0 ) = ( -0.707, -0.707).
      01: 90-degree clockwise rotation is applied, (Dio,DQo) = ( -0.707, 0.707).
      10: 90-degree counter-clockwise rotation is applied, (Dlo,DQo) = ( 0.707, -0. 707).
      11: 180-degree rotation is applied, (DI 0 ,DQ0 ) = (0.707, 0.707).

      Let's assume the pattern for (Cio,CQo) is 10 so (Dio,DQo)     = ( 0.707, -0.707). If the input
      symbol (CI1,CQ1) to the differential decoder is

      00: no rotation is applied, (DI1.DQ1) = ( 0.707, -0.707).
      01: 90-degree clockwise rotation is applied, (DI1,DQ1) = ( -0.707, -0.707).
      10: 90-degree counter-clockwise rotation is applied, (DI 1,DQ 1) = ( 0.707, 0.707).
      11: 180-dcgrcc rotation is applied, (Dh,DQ1) = (-0.707, 0.707).

      And encoding will be performed continuously following this method.

      Differential Decoding




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                                               [Exhibit 1-26]
                                                                                                       ACI004870
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      The Differential decoding for is performed in each polarization after coherent QPSK
      detection. The hard decisions of (Ch CQi) are made based on judging the most likely
      transition between each pair of received symbols, (Dk 1, DQi_ 1) and (Dh DQD (noise
      corrupted at the receiver). The Table 1 below summarizes all the hard decision cases.

                                    Table 1 Hard decision decoding

          Case index              (Dli-1, DQL1)              (DhDQi)                  (ChCQi)
                0                      00                       00                        00
               1                       00                       01                        01
               2                       00                       10                        10
               3                       00                       11                        11
               4                       01                       00                        01
               5                       01                       01                        11
               6                       01                       10                        00
               7                       01                       11                        10
               8                       10                       00                        10
                9                      10                       01                        ()()
               10                      10                       10                        11
               11                      10                       11                        01
               12                      11                       00                        11
               13                      11                       01                        10
               14                      11                       10                        01
               15                      11                       11                        00

      To achieve the best performance from the down stream SDFEC decoder, we have to also
      generate the soft input information that represents the reliability of each bit. The ideal
      method to generate the soft input is to generate maximum-likelihood ratio (LLR) as the
      input to the decoder. The general Equation for LLR is:

                               LP(bi =1)
                                                                                                 (1)


      For instance for the bit Cli, cases 2 3, 5,7, 8, 10, 12 and 13 in Table 1 are corresponding
      to a hard decision of Cli = 1 and the rest of the cases are corresponding to hard decision of
      Cli =0. So the

                 P(OO,lO) + P(00,11) + P(01,01) + P(Ol,11) + P(10,00) + P(10,10) + P(11,00) + P(11,01)
                 P(OO,OO) + P(00,01) + P(Ol,OO) + P(01,1 0) + P)(l 0,01) + P(l 0,11) + P(11,1 0) + P(11,11)

                                                                                                 (2)

      Here P((Dli_ 1, DQi_ 1), (Dli, DQi)) represent the probability of transition from (Dli_ 1, DQi-
      1) to (Dli, DQi). A total of 16 terms are involved here in the computation so the
      computational complexity is extremely high. One way to avoid all the realtime


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                                               [Exhibit 1-27]
                                                                                                          ACI004871
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      computations is to is to use pre computed look-up tables (LUTs). However for high speed
      designs we have large number of parallel path which will make the LUTs too large to
      implement. Therefore a simplified algorithm is defined here. Simulations have proved
      that this simplified method provides insignificant performance degradation compared to
      using optimal LLRs.

      The key for the simplified algorithm is to identify the dominating terms in computing the
      LLR. The following set of figures in Fig. 2 helps to identify the terms. The blue dots
      represent (Dii_ 1, DQi_ 1 ) and the red dots represent (Dii, DQD. To help identify the cases
      we assume (Dii-1, DQi_ 1) is always in the third quadrant, and (Dii, DQi) is moving from 1st
      quadrant to 4 1h quadrant in each row. In row 1, Dii_ 1 has the smallest magnitude for cases
      A to D. In row 2, DQi. 1 has the smallest magnitude for cases E to H. In row three, DQi
      has the smallest magnitude in the first quadrant for case I and the red dot is rotated hy 90,
      180 and 270 degrees for case J to L In row 4, Dii has the smallest magnitude in the first
      quadrant for case I and the red dot is rotated by 90, 180 and 270 degrees for case N toP.
      All these 16 cases combined cover all relative magnitude possibilities with (Dh1, DQi-1)
      in the 3rct quadrant. By examine the cases we find out for each case what is the most
      likely transition (represented by (CI;, CQ;)) and what is the second likely transition.
      These two transitions are then used to help us to decide how the LLR information for
      (Cii, CQi) shall be collected.

      For example, for case A, the most likely transition is (Cii, CQ;) =11 (transition from (DI;_
      1, DQi-1)=00 to (Dii, DQi) = 11). Since Dii-1 has the smallest magnitude among all, the
      second most likely transition is (CI;, CQi) =10 (from (DI;_ 1, DQi_ 1) =10 to (DI;, DQi) = 11
      with Dk1 flipped sign). The rcliabilitics of (C1i, CQi) arc decided by both (Dli-I, DQi-I)
      and (Dii, DQi)- G operation, which computes the joint reliability of two reliability values,
      is used to calculate the reliability of Cii and CQi- In this case the G operation between
      (Dk1, Dli) should be assigned to CQi as the reliability information. This is intuitive since
      that the flip of CQi is most likely event. On the other hand, the G operation between
      (DQi_ 1, DQi) should be assigned to Cii as the reliability information.

      In another example of case B, the most likely transition is (Cii, CQi) =01 (transition from
      (Dii_ 1, DQL 1)=00 to (Dii, DQi) = 01). Since Dii_ 1 has the smallest magnitude among all,
      the second most likely transition is (Cii, CQD =11 (from (DI;_ 1, DQi_ 1 ) =10 to (Dii, DQi) =
      01 with DI;_ 1 flipped sign). In this case the G operation between (Dii_ 1, Dii) should he
      assigned to Cii as the reliability information since the flip of Cii is most likely event. On
      the other hand, the G operation between (DQi_ 1, DQi) should be assigned to CQi as the
      reliability information.

      By analyzing all16 cases, we found that 4 of the cases: A, C, E and G shall have the G
      operation between (Dii_ 1, DI;) assigned to CQi and the CJ operation between (DQi_ 1, DQ;)
      assigned to Cii while in all other cases, the G operation between (Dii-1, Dii) should be
      assigned to Cii and the G operation between (DQi_ 1, DQi) should be assigned to CQi, we
      summarized these cases in Table 2.




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                                              [Exhibit 1-28]
                                                                                                       ACI004872
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                                      (Dh.DQ)




             (Dii-1,0Qi-1)   "                           (Dii-1,0Q-1)    "
                             Case A                                      Case B                           Case C                      CaseD




                                                                                                                              .,
                                                                                                                    (Dh-1.D01-1)
        (Dh-1, D01-1)                              (Dh-1,DQ1-1)




                             Case E                                      Case F                           Case G                      Case H




            (011-1, DQI-1)                                                               (011-1, 001-1)

                                                        (011-1, 001-1)
                                                                                                                                           (Dh, DO•)

                             Case I                                  Case J                               Case K                      Case L




        (Dh-1. D01-1)                             (Dh-1. D01-1)                                                       (Dh-1. D01-1)



                         Case M                                      Case N                               Case 0                      Case P



                                                       Figure 2: Diff decoding case analysis

                                                Table 2 Reliability assignment for Diff decoder

      Case              Most likely                    Second most                      Reliability                Reliability assignment
      index             transition                     likely transition                assignment                 CQi
                        (Dli, DQi)                     (Dli, DQi)                       Cii
        A                      11                              10                       G(DQi-1, DQi)              G(Dli-1, Dli)
        R                      01                              11                       G(Dli-1, Dli)              G(DQi-1, DQi)
        c                      00                              01                       G(DQi-1, DQi)              G(Dh1, Dli)
        D                      10                              00                       G(Dk1, Dli)                G(DQi-1, DQi)
        E                      11                              01                       G(DQi-1, DQi)              G(Dli-1, Dli)


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                                                                                  [Exhibit 1-29]
                                                                                                                                                       ACI004873
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        F            01                00           G(Dii-1, Dii)        G(DQi-1, DQi)
        G            00                10           G(DQi-1, DQi)        G(Dii-1, Dii)
        H            10                11           G(Dii-1, Dii)        G(DQi-1, DQi)
        I            10                11           G(Dk1, Dii)          G(DQi-1, DQi)
        J            01                11           G(Dii-1, Dii)        G(DQi-1, DQi)
        K            00                01           G(Dii-1, Dii)        G(DQi-1, DQi)
        L            10                ()()         Ci(Dii-1, Dii)       Ci(DQi-1, DQD
        M            11                01           G(Dii-1, Dii)        G(DQi-1, DQi)
        N            01                00           G(Dii-1, Dii)        G(DQi-1, DQD
        0            00                10           G(Dii-1, Dii)        G(DQi-1, DQi)
        p            10                11           G(Dk1, Dii)          G(DQi-1, DQi)

      The above analysis covers only the cases when (Dii-1, DQi_ 1) is in the third quadrant. All
      other cases with (Dii_ 1 , DQi_ 1 ) in other quadrant are also analyzed.




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                                              [Exhibit 1-30]
                                                                                                    ACI004874
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      Provisional Patent ApplicationCDSLLDFr method for tuning -3                   January 22, 2011


      CDSLLDFr method for tuning very large frequency offsets in 40 I 100 Gbps OTN

      Problem       Potential for very large starting frequency offset in 40 I 100 Gbps OTN
      (Optical Transport Network) systems.

      Generating error signals to help tune the LO to bring the signal to baseband.

      Solution       Algorithm for detecting the presence of large frequency offset and
      providing correction direction I value for appropriate tuning

      Reusing frequency bins from the frequency domain CD compensation circuitry
      Technical Keywords LO Tuning, LASER tuning, frequency offset


      Novel This is a new technique. In 40 I 100 Gbps OTN systems the Rx LO can be way
      off (several GIJz). The invention is a low implementation complexity solution to help
      achieve lock.

      Inventors        Matt Nimon, Pan Mo, Dill Thesling and Sameep Dave



                                     Coarse Frequency Estimation

      The demodulator may need to operate with large frequency offsets (larger than the
      symbol rate). The CFAT module is capable of acquiring the input signal in presence of
      frequency offsets up to ±12.5% of the symbol rate. The FFr capability of the CDC
      module is used to provide a coarse indication of frequency offset to help bring down the
      frequency uncertainty to within the ±12.5% range. This is accomplished as described
      below.

      Four samples are taken at the output of the FFr, the FFr bins selected will be
      programmable through the ACT interface. These 4 samples are referred to in what
      follows as samples A, B, C, and D, respectively. These 4 samples will be taken and
      processed every frame (clock).

      The magnitude (radius) of each of these 4 samples is computed using the CORDIC
      common module. Those 4 computed magnitudes are called IAI, IBI, ICI, and IDI, and they
      are each represented by 9 bits. Each of these magnitudes are filtered via a first order IIR
      filter transfer function H(z), with programmable alpha, as shown below.

      H(z)   =        alpha
                 1- (1- alpha)z- 1

      The filtered quantities f(IAI), f(IBI), f(ICI), and f(IDI) are then combined algebraically to
      form the frequency metric as: f(IAI) + f(IBI) - f(ICI) - f(IDI) represented by 11 bits.


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                                              [Exhibit 1-31]
                                                                                                       ACI004875
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      The output is brought to the ACT interface where it can be read as a read only status
      register.

      In addition, the filtered quantities are input to a decision block that determines if the
      frequency offset is high or low. In this block the value: max(f(IAI), f(IBI), f(ICI), f(IDI))-
      {(f(IAI)+ f(IBI) + f(ICI) + fi(DI))/4} is computed. If this value less than an programmable
      input threshold then one of two interrupts (irq_coarse_freq_offset_hi or
      irq_coarse_freq_offset_lo) is triggered based on the sign of f(IAI) + f(IBI) - f(ICI) - f(IDI) .

      The following block diagram provides the low level details:




                         Figure 1. Coarse frequency estimation metric block diagram




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                                               [Exhibit 1-32]
                                                                                                         ACI004876
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      Provisional Patent Application      PMD Equalizer -4                     January 22, 2011


      Adaptive PMD Equalizer and Implementation

      Problem        In 40 I I 00 Gbps OTN (Optical Transport Network) systems dual-pole
      transmission is used.

      Optical fiber imperfections result in signals interfering across poles. This phenomenon is
      termed as PMD (polarization mode dispersion)

      This interference can change over time and needs to be tracked out

      PMD if note recovered can greatly affect the receiver performance

      Solution               Algorithm for tracking PMD using a CMA based Equalizer that
      works across both poles
      Dual modes for error signal generation
      Real and complex incarnations of the Equalizer
      Equalizer partitioning for ASIC implementation

      Technical Keywords PMD, Equalizer, PM-QPSK, PM-DQPSK, 40 I 100 Gbps, OTN

      Novel This is a new approach for tackling PMD. One of the biggest complexity
      contributors to the receiver design. We have looked at a variety of approaches to make it
      more manageable for ASIC implementation.

      Inventors      Fan Mo, Sameep Dave, and Lawrence Esker

                          Adaptive PMD Equalizer and Implementation

      The PMD/PDL compensation module utilizes adaptive equalization I equalizer (EQ) to
      compensate for PMD (a type of cross polarization interference), PDL (varying received
      signal strength between poles), and miscellaneous residual impairments that translate into
      interference I undesired interaction between samples of the same channel I stream I
      tributary (I or Q samples in a pole. So in DPQPSK transmission we have 2 channels per
      pole and 4 channels total), or samples of the other channel in the same pole, or samples of
      other channels across both poles.
      The PMD/PDL compensation module takes in data at 2 samples/symbol from the MFD
      (Matched Filter Decimator) module and processes the data through a bank of FIR filters
      with adaptive filter taps I coefficients. The filtered output is sent to the STAT (Symbol
      Timing Acquisition and Tracking), CFAT (Carrier Frequency Acquisition and Tracking)
      and CPR (Carrier Phase Recovery) modules. STAT gets 2 samples (on-time and off-time)
      per symbol for half of the symbols (32 contiguous on-time and off-time symbols per valid
      clock) while CFAT and CPR get 1 sample (on-time) per symbol for all the symbols (64
      contiguous on-time symbols per valid clock). The top level block diagram for this module
      is shown in Figure 6.




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                                            [Exhibit 1-33]
                                                                                                    ACI004877
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                                                                                Output HI, HQ, VI, VQ
                                                                                samples to STAT,
      Input HI, HQ, VI, VQ                                                      CFAT and CPR
        samples from M FD

                                                                     L___---,    Inter-pole offset and false
                                                                     ,---------" lock info from FFS




      Figure 13: PMD/PDL Compensation module Top Level


      The FIR filter bank shown in Figure 6 consists of sixteen, 16-tap real FIR filters
      operating at 2 taps per symbol. A conceptual view of the filter bank is shown in Pigure 7.




      Figure 14: PMD/PDL Compensation module Filter Bank




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                                            [Exhibit 1-34]
                                                                                                          ACI004878
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      Provisional Patent Application              PMD Equalizer -4                                  January 22, 2011


      Each box in Figure 7 represents a 16-tap FIR Filter. The boxes are marked to indicate that
      they are responsible to cover the impact of which input channel to which output channel.
      For example the HI to VQ box means the filter is calculating the impact of HI
      (Horizontal-pole In-phase signal) on to VQ (Vertical-pole Quadrature-phase signal). So
      every row in the Figure 7 represents the impact of a certain input channel on every output
      channeL And every column represents the impact of all input channels onto a particular
      output channeL (1) shows the math behind the HI output generated by the first column in
      Figure 7 :
                   8

      OutHI,n   = L (InHI,n+i   xTHI2HI,i   + InHQ,n+i   xTHQ2HI,i   + InVI,n+i   xTVI2HI,i   + InVQ,n+i   xTVQ2HI,i)        (1)
                  i=-7


      Where
      n is the sample index (lower number is earlier in time),
      i is index variable,
      Out is the output sample where the first subscript shows the output channel and second
      subscript is the sample index,
      In is the input sample where the first subscript shows the input channel and second
      subscript is the sample index,
      and T is the set of filter taps where the first subscript shows which of the 16 filters (have
      use *2* notation instead of * to *) and the second subscript is the tap index assuming a
      16-tap filter where index 0 is the center tap. Please note that for C or R TL indexing the
      taps may be numbered from 0 to 15 with 7 being the center tap. As longs as the indexing
      is consistent in terms of functionality we will be in good shape.
      Midway through the system design and simulations it was decided that for some
      applications of PMD/PDT ~ compensation module we will use complex FIR filters. What
      this translates into is that each quadrant (same color boxes) in Figure 7 is a complex filter
      instead of the four real filters shown. The complex filter decision took one degree of
      freedom away and so now within a quadrant the filters that are diagonally across to each
      other have the same taps or taps that are opposite in sign. Figure 15 shows the
      interdependence of the taps in case of complex filtering. The taps for filters connected by
      the black line (negative slope diagonal) are the same while the taps for filters connected
      by the red line (positive slope diagonal) are opposite in sign.




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                                                    [Exhibit 1-35]
                                                                                                                           ACI004879
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      Provisional Patent Application            PMD Equalizer -4                         January 22, 2011




      Figure 15: PMD/PDL Compensation module complex FIR filter bank



      For the filter tap updates on POLO CMA (Constant Modulus Algorithm) is used. CMA
      drives the on-time (at optimal symbol timing) constellation points on each polarization to
      a circle with a desired radius with minimum radius variation. The filter taps are usually
      initialized as an all-pass filter with only the center taps TH12 HI.o, THQ 2HQ.o, Tvnvi.o and
      TvQ 2vQ,o    initialized to unity while rest of the taps are all zeroes. And using only on-time
      output samples the filter taps are updated using an error signal as shown in (2) or
      optionally a simpler mechanism shown in (3).

      THI2HI,i,n   = THI2HI,i,n-! + (j3- (Out~I,n + Out~Q,n))xOutHI,n xlnHI,n+i XJL)                            (2)

      THI2HI,i,n   = THI2HI,i,n-! + sign(j3- (Out~l,n + Out~Q.n)) X OutHI,n X InHl,n+i XJL)                     (3)

      Where
            2
      Out  is the squared on-time output sample where the first subscript shows the output
      channel and second subscript is the sample index,
      j3   is desired threshold (squared radius) which CMA is driving towards,
      J1 is a gain factor that affects the speed and stability of CMA' s convergence,
      sign(.) is just calculating the sign of the operand,
      and rest of the variables have the same meaning as in (1).
      The adaptive EQ receives a few feedback signals from the FFS (FEC Frame
      Synchronizer) module. In certain fiber channel conditions the filter taps can converge
      such that the outputs on both poles is the same (both are locked to H or both are locked to
      V). In such cases the FFS indicates that the polarization lock is invalid and EQ will
      reinitialize the taps (to their default value as configured via the APB interface) that
      generate the Vertical pole (filters in the right half of Figure 15). This re-initialization



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                                                   [Exhibit 1-36]
                                                                                                              ACI004880
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      Provisional Patent Application       PMD Equalizer -4                      January 22, 2011


      should result in the EQ converging on different poles. This process can be performed
      recursively till the desired convergence is achieved.
      Also at initial acquisition stage if the FFS detects a timing offset between the two poles it
      will convey that offset value to the EQ so that the filter taps can be re-initialized or
      shifted to compensate for the offset. This offset is performed in a balanced fashion
      between the filter laps generating the outputs for the two poles to make sure sufficient
      taps are available towards the edge of the filter. If such compensation is not performed
      the EQ might converge such that during normal operation the higher weight taps (on one
      of the poles at any time) get skewed towards the edge of the filter essentially turning the
      EQ into a filter with small number of useful (relatively bigger value) taps.
      The EQ is also a part of the symbol timing loop along with the STAT module. The EQ
      can interact with the symbol timing loop in such a fashion that at times the EQ filter taps
      on both poles can start drifting towards the edge of the filter, again turning the EQ into a
      filter with small number of useful laps. CoM evaluation and correction will be performed
      in the PMD I PDL compensation module to make sure that if the useful EQ taps have
      shifted by a symbol they are moved back towards the center of the filter. To figure out if
      the taps have moved the CoM will be calculated as the difference between the combined
      tap energies of the filter taps index -7 to -1 and filter taps index 1 to 7. If the magnitude
      of this difference is greater than a programmable threshold the taps arc instantaneously
      adjusted towards the center. Please note that adjustment of taps will result in addition or
      deletion of a symbol and needs to be accompanied by the deletion or addition
      (respectively) of a symbol in the data going out (to CPR and CFAT).
      A combination of the FIR filter bank, the CMA update algorithm and tap I output
      adjustments based on CoM and feedback from FFS will lead to a stable and powerful
      PMD I PDL compensation design.




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                                             [Exhibit 1-37]
                                                                                                      ACI004881
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5         January 22, 2011


      IIQ Skew compensation I tracking in 40 I 1 00 Gbps OTN

      Problem        Small! versus Q timing skew I offset can cause huge performance
      degradation in 40 I 100 Gbps OTN (Optical Transport Network) systems.

      Evaluating the I versus Q skew in the presence of various optical impairments is very
      challenging.

      This skew can vary over time I temperature and needs to be tracked.

      Solution       Algorithm for generating a reliable error signal for measuring I versus Q
      skew in the presence of miscellaneous high speed board design related issues as well as
      optical impairments like CD, PMD,

      Algorithm for removing I versus Q skew at calibration

      Low complexity algorithm for tracking and correcting changes in I versus Q skew over
      time

      Technical Keywords I!Q Skew, I versus Q skew, Sampling time offset

      Novel This is a new technique. In 40 I 100 Gbps OTN systems very small (several ps)
      skew between I and Q channels of a QPSK signal is a big fraction of the symbol duration
      and very detrimental to performance. Generating an error signal that provided basis for
      correction in presence of all the impairments was very challenging. 'I be techniques to usc
      this error signal at calibration time as well as run-time are also new innovations.

      Inventors      Yuri Zclcnsky and Fan Mo


                     1/Q Skew compensation I tracking in 40 I 100 Gbps OTN

      Most current designs for a digital demodulator try to compensate for three types of
      quadrature demodulator imperfections - DC offset, Amplitude Imbalance and Phase
      Imbalance. As data rates increase an additional impairment can become an issue- a
      propagation skew between the I and the Q channel. This impairment behaves differently
      from the other three and requires a different approach. One way that this was handled in
      the past was to have an initial skew compensation calibration in the digital domain to
      calibrate out the imperfections in a given receiver. However, as data rates are increasing,
      the thermal drift over time can become significant enough in order to merit a real-time
      adaptive skew-compensation circuit.

      If skew is left uncompensated, it can lead to severe degradation in demodulator
      performance. Below is an example set of simulated performance for a 40Gbps optical
      demodulator with a comprehensive set of other channel impairments, recording an
      expected post-demodulator le-3 BER SNR operating point in the presence of various



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                                             [Exhibit 1-38]
                                                                                                    ACI004882
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5       January 22, 2011


      amounts of uncompensated I!Q skew. I!Q skew is measured as a fraction of UI (Unit
      Interval) or symbol interval, where a symbol interval is two ADC samples:


                          Typical Performance Degradation vs. Uncompensated 1/Q Skew

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                                                      Skew (UI)




      From above, in this particular case a 2% UI skew causes about O.ldB performance
      degradation, while a 20% UI skew causes over 2dB of degradation. The total amount of
      degradation will depend on the relative operating point that is being examined - in this
      case it is around 11 dB SNR.


      Analysis
      Prom a practical perspective, our goal is to find some metric of the received ADC
      samples that indicates if there is a significant amount of Liming skew between the two
      channels. Because we know that skew causes performance and EsNo degradation, the
      most straight forward way is to demodulate signal with different amounts of up-front
      skew and pick the skew amount that maximizes receive EsNo. This is a practical
      approach during initial calibration, but if skew adjustment is required during normal
      operation this would require either 2 fully-parallel demodulators or a constant
      performance degradation as different amounts of skew are tried- first case being
      impractical from demodulator size perspective and second from performance perspective.
      If the input signal is relatively well behaved (not too many channel impairments) it is
      possible to perform a signal quality estimation early in the demodulator chain and not
      need two fully parallel paths- just one main path and a secondary path that tries
      alternative skew amounts and processes data to a certain extent in order to extract a
      meaningful quality estimate. Unfortunately, in a high-speed optical channel, impairments
      such as Chromatic Dispersion, Polarization Mode Distortion and significant carrier


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                                            [Exhibit 1-39]
                                                                                                    ACI004883
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5         January 22, 2011


      frequency offset need to be compensated prior to being able to properly evaluate the
      signal quality, making this option still impractical.

      It turns out that if there is a certain amount of frequency offset from baseband at the ADC
      input then a skew between the I and Q paths generate an image signal and the amount of
      skew can be extracted from a correlation between the I and Q samples. This correlation
      turns out to be proportional to both skew and frequency offset. Unfortunately, any
      amount of phase imbalance in the quadrature downconverter also manifests as an I/Q
      correlation and, in fact, this is how it is normally removed. So it seems we have an
      additional problem- not only will skew degrade performance, but also, coupled with a
      significant frequency offset, it will also distort the I/Q phase imbalance compensation.
      Fortunately, there is another aspect that sets skew plus frequency offset apart from phase
      offset-in the presence of a time skew and a frequency offset there is a non-zero
      correlation between first derivatives of the I and Q samples. This correlation is exactly 0
      if I and Q correlation is removed, which is typically done by the phase equalizer. This
      property is independent of the modulated signal, as long as the signal is "normal" and is
      not centered at baseband. Below is a typical result with a completely random signal,
      upsampled by 2 and a -7 dB A WGN noise added after upsampling and a non-zero
      frequency offset:




      The slope of the line above depends on the input frequency offset. The variance of the
      samples will help determine how many samples need to be averaged for a statistically
      significant estimate:




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                                             [Exhibit 1-40]
                                                                                                    ACI004884
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5           January 22, 2011




       Note that here UI represents one sample period. If we are dealing with a demodulator
      that processes 2 samples per input symbol, a UI is twice as long.
       Now we need to determine what is the smallest frequency offset that we can tolerate and
      still get a statistically significant estimate of the skew. Let us examine the correlation of 1
      and Q derivatives with just a the same signal, now with a fixed skew of 5% of the sample
      rate and v      the              offset:




       Based on the above, a simple formula that relates the derivatives correlation with
      frequency offset and skew can be derived: C = 4*F*S*P, where:
       C = average correlation of I and Q derivatives
       F = Frequency offset (normalized to sample rate)



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                                              [Exhibit 1-41]
                                                                                                        ACI004885
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5                                                           January 22, 2011


       S =I to Q time skew (normalized to sample rate)
       P = input signal power.
       This formula seems to hold true for any 2x ovcrsamplcd waveform.
       This allows us to determine the number of samples that needed to be averaged for a
      meaningful skew estimation. For example, we have a system that is at 2 samples per
      symbol and we want to ensure that skew is tracked to 0.5% of a symbol period (or 1% of
      sample period) and we can ensure that input frequency error will on average be no
      smaller that 0.5% of the sample rate or 1% of the symbol rate then our mean correlation
      should be 4*(0.005*2)*0.01=4e-4. With a worst-case of 7dB SNR we can expect worst-
      case variance on this measurement of 0.5. So if we want the variance of the estimate to be
      25% of actual, i.e. le-4 then we need to average (l/le-4)A2=1e8, or about 5 milli-seconds
      at 20Gsps. If we don't expect the skew to vary by more than 0.005 UI in a second, we can
      reduce hardware complexity hy using one out of every 128 or so samples in order to
      come up with the estimate.


      Implementation
       Let us now consider several possible HW implementations of a skew compensation
      filter. Since we know the relationship between skew, frequency and correlation, the most
      straight-forward implementation is:

        ------------1   -------*''    Bulk Skew
                                     Compensation
                                                    ---~
                                                             DC Offset,
                                                               Phase,
                                                                                          ----- -   ~1
                                                                                                         Fine Skew
                                                                                                                      I umummmi>'-'


                   Q    -------~      (FIR Delay    --~'"    Amplitude     ----          um-m-mum-i»-'l Compe,nsation mm-mumu-~
                                         Filter)            Compensation
                                                                                   Q                                                         Demod
                                                                                                             ~~


                                                                                               ,-----~Skew

                                                                           4*F*delta_l            IIR Low-
                                                                            * delta_Q
                                                                                                                                               •



                                                                                                                  Frequency (F)



       The bulk skew compensation takes out skew that is more than 0.5 UI and has to be
      configured during calibration. The main drawback of this implementation is that
      frequency has to be known, so it may be problematic if frequency offset is small and is
      changing, so that there is some error in the frequency value fed back from the
      demodulator.

       If we can assume that the demodulator is not going to provide an exact frequency value
      but can at least supply the sign of the frequency error we can do the following:




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                                                                       [Exhibit 1-42]
                                                                                                                                                     ACI004886
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5                                                                                         January 22, 2011


          -        - I         ~'       Skew                w-     DC Offset,  I
                                    Compensation                     Phase,
                     Q         ~'    (FIR Delay            - w-    Amplitude   1-
                                        Filter)                   Compensation
                                                                                                                                                                              De mod




                                       Skew
                                                                PI           .,"!                                sign(F)*delta_l
                                                                                          --------------------~ta_Q
                                                             Controller

                                                                                                                           ~
                                                                                                                                                          -Frequency



       This implementations uses a slow feedback loop and combines bulk and fine skew
      compensation in one step. It still relies on some knowledge of the frequency offset. If we
      can assume no knowledge of frequency offset we can do the following:


                                                                                                          O.OOSUI Skew




        ---------1----~                       1---~-....        Skew                          ~"-
                                DC Offset                   Compensation                                  Phase and
                                                                                                           Amplitude
         --------0------&-~   Compensation                   (FIR Delay          ____ :   ----""-


                                                                Filter)                                  Compensation
                                                                             1



                                                                  ..&




                                                                                           -----~--...                         --~-...
                                                                                                                                            Phase and
                                                                                                          -O.OOSU I Skew                    Amplitude
                                                                                          ------~                              ---&.....
                                                                                                                                           Compensation




                                                                    ---------------------Skew update--                                                                        Min, state machine




      In this implementation, we are simply looking for the minimum absolute value of the
      correlation with trials of a little additional positive and negative skew. The state machine
      resets the low-pass filters and waits a pre-defined amount, it then compares the three
      filtered correlation values and if the skewed correlations become smaller than the
      unskewed correlation it updates the main skew compensation filter and resets the IIR's.
      Finally, examining the interplay of various compensation filters, it turns out that the
      delta_I*delta_Q skew metric is not affected by even significant amounts of
      uncompensated DC, amplitude, or phase error. We can therefore simplify to the
      following solution:




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                                                                                  [Exhibit 1-43]
                                                                                                                                                                                                   ACI004887
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      Provisional Patent Applicationi!Q Skew compensation I tracking -5                                                                January 22, 2011



                                  0.005UI Skew                                                              abs(delta_l      "-"""'    IIR Low-
                                                              - _           _             _         -:::>-· * delta_Q)                   Pass



      --------1---~'-·
                         Skew                                                              DC, Phase
                                                                                         and Amplitude
                                                       -------------------------~....
                                                                                         Compensation                                 Q to de mod.__       -:. "'-''
                                                                                        L _ __ _ _ _---"




                                                   :            1[0]                               ,_. abs(delta_l           :::>-·    IIR Low-
                                                                                                        * delta_Q)                       Pass
                                   ····-········-···-···Q[O} ·········-········-···-········-···-··"'-'L _ __ _ _        ~




                                                            ------------------------------------------~"'


                                                                                                            abs(delta_l      ""'       IIR Low-
                                  -0.005UI Skew
                                                              - _           _             _         -:::>-• * delta_Q)    ~~'"1          Pass



                                                                                                                                      ,-------~W ~ ~

                                                                                                                                          Min, state machine




      Once again, as in the previous solution, the delta_I*delta_Q correlators can run on sub-
      sampled version of the samples, and the state machine updated the main skew
      compensation block if the center correlation is not smaller than the two +1- trials.




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                                                       [Exhibit 1-44]
                                                                                                                                                                       ACI004888
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      Provisional Patent Application Multi-Layered decoding -6                    January 22, 2011


      Multi-Layered decoding of concatenated codes

      Problem        Extracting maximum coding gain from hard-decision or soft-decision
      iterative decoding of concatenated codes

      Reducing the odds of false convergence of decoding algorithms

      Solution         Algorithm for decoding concatenated codes in a multi-layered fashion
      where more likely corrections are made first to avoid creating more bit errors during
      initial iterations

      Adapting the algorithm for high speed hard-decision TPC Decoding

      Adapting the algorithm for high speed soft-decision TPC Decoding

      Technical Keywords Concatenated codes, soft decoding, hard decoding

      Novel This is a new technique. Can be used for performance enhancements in a variety
      of PEC applications.

      Inventors      Sameep Dave and Fan Mo


                           Multi-Layered decoding of concatenated codes

      Decoding of powerful concatenated codes is usually an iterative process where during
      every iteration a pass at decoding is performed hich helps generate some extra
      information about the confidence in a bit being a 1 or a 0. During the initial iterations in
      the decoding process sometimes the decoder ends up making wrong decisions as the
      incoming data is very erroneous.

      The proposed invention targets making the first few iterations during the decoding
      process more conservative by limiting the correction capability of the codes involved.
      This in turn would avoid the initial iterations from malting things work The full
      correction capacity of the code can then he unleashed on relatively cleaner data for
      quicker convergence and higher performance.
      This technique can be applied to hard decision as well as soft decision concatenated code
      decoders.




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                                             [Exhibit 1-45]
                                                                                                     ACI004889
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      Provisional Patent Application Interpolatorldecimator -7                January 22, 2011


      Low complexity interpolator I decimator for 40 I 100 G applications

      Problem        Sampling rate at the Rx side in OTN systems is usually 2 + delta times the
      symbol rate

      2x or lx samples per symbol signaling is required for most of the Demodulator design
      Variable rate interpolators are very complex for 40 I 100 Gbps kind of applications I
      implementation

      Solution      Algorithm for generating a compact interpolator I decimator design
      optimized around the desired sampling rate to symbol rate ratio

      Fixed taps filter for lower complexity

      Carefully crafted connections to reduce congestion in routing for ASIC I FPGA
      implementation

      Technical Keywords Interpolator, Decimator

      Novel This is a new technique. Can be used for variety of applications where range of
      desired sampling rate to symbol rate ratio is not huge.

      Inventors      Matt Nimon, Fan Mo and Bill Thesling



                             Low complexity interpolator I decimator


      The matched filter decimator module implements an interpolation function that provides
      decimation from the ADC sample rate to 2x the symbol rate. Each of the four data
      streams has an independent bank of FIR filters with fixed coefficients. The filter
      coefficients implement a Raised Cosine low-pass filter with pre-determined roll-off. The
      symbol timing error input value fine tunes the decimation rate such that one of the two
      samples per symbol output is an on-time sample. The sample block assembler takes in
      the data samples from the filter hank and groups the samples such that valid data output
      from the MFD block always contains data samples output per stream. Note that valid
      output data is not available on each clock and the data valid output indicates when valid
      output data is available. The top level matched filter decimator design is shown in the
      figure below.




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                                               [Exhibit 1-46]
                                                                                                  ACI004890
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      Provisional Patent Application Interpolator/decimator -7                                                                                                                                       January 22, 2011


                                                                        Bank of 128 Interpolation Filters

                                                               m{ 127:               12
                                                                                 : ~}~                     FIR Filter                     fm      127

                                                                       126           121                                                          126
                                                                   {         '   '         } I             FIR Filter
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                               -~ ~                                     Bank of 128 Interpolation Filters                                                                                                       . ."l&-'   Mfd_HQ ( 128x8)
       Cdc_HQ (128x8)     'T"'""'"<1'-·+·+"""""~'                                                                                                                                                    -~
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      The MFD supports a single decimation rate. The decimation rate is based on the
      specification that the ADC sample clock will be set to 2+ times the nominal baud rate and
      the fact that the MFD outputs 1 or 2 samples per symbol.
      Each NCO hank maintains a symbol rate NCO and generates a vector of interpolation
      phase values per clock. The interpolation phase values are identical for both the I and Q
      streams in each polarization so one NCO bank services two streams. The Pmd_Sync_Err
      in an input from the PMD module and is asserted if ever the data valid outputs from hoth
      polarizations are out of sync. When the Pmd_Sync_Err is asserted, the NCO banks are
      cleared.
      The symbol error is a signed value providing for a maximum symbol timing correction
      capability of a certain % of the baud rate. The symbol timing error is input to the NCO
      hank where it is added to the nominal NCO step value to produce a corrected NCO step.
      The corrected NCO step value is reported as status.
      There are four banks of interpolation filters in the module with each bank processing one
      of the data streams. Each filter bank takes in one data word of sample data and an array
      of interpolation phases per clock The filter blocks filter the incoming data through the
      filter hanks with the interpolation phase for each filter driven hy the corresponding
      interpolation phase value. The filter bank produces 2 samples per symbol out for each
      data stream.
      The decimation rate is controlled by a NCO so the number of output samples produced
      per clock is not a constant. In order to simplify data processing through the remainder of
      the demodulator, data samples are gathered and assembled into blocks of samples per



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                                                                       [Exhibit 1-47]
                                                                                                                                                                                                                                            ACI004891
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      Provisional Patent Application Interpolator/decimator -7                   January 22, 2011


      stream per dock by the sample block assembler. The assembly function is identical for
      the I and Q streams in each polarization so one assembly block services two streams.
      As the ratio of the output/input samples per clock is not exact, there will be clock cycles
      where the matched filter decimator does not output any data. The Mfd_Data_ Valid_x
      output is asserted only on clocks with valid output data. There is one output data valid
      flag per polarization (we really need only one but two facilitates the division of this
      function into two HLBs).




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                                             [Exhibit 1-48]
                                                                                                    ACI004892
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      Provisional Patent ApplicationCoM adaptive EQ tap correction -8             January 22, 2011


      CoM based adaptive EQ lap correction

      Problem        In digital demodulator design adaptive Equalizers arc used for recovering
      signal quality

      Equalizer usually plays a part in the symbol timing error correction

      In presence of slow residual symbol timing offset the taps of an adaptive equalizer can
      drift towards the edges degrading the performance

      This problem is hastened in the PMD compensation equalizer for 40 I 100 Gbps OTN
      applications I implementation

      Solution      Algorithm for generating a CoM (Center of Mass) metric for the equalizer
      Algorithm for using the CoM metric to correct the taps without disrupting the receiver
      synchronization

      Low complexity implementation of the algorithm for high speed receiver design

      Technical Keywords Equalizer, Adaptive filter, CMA, LMS

      Novel This is a new technique. Can be used for variety of applications where equalizers
      are used in the receiver design.

      Inventors      Fan Mo and Samccp Dave


                               CoM based adaptive EQ tap correction

      In digital Demodulator designs for 40 I 100 Gbps optical systems the PMD compensation
      Equalizer (PMD EQ) is also a part of the symbol timing loop along with the STAT
      module. The EQ can interact with the symbol timing loop in such a fashion that at times
      the EQ filter taps on both poles can start drifting towards the edge of the filter, turning the
      EQ into a filter with small number of useful taps. This invention proposes CoM
      evaluation and correction to he performed in the PMD I PDI ~ compensation module to
      make sure that if the useful EQ taps have shifted by a symbol they are moved back
      towards the center of the filter. To figure out if the taps have moved the CoM will be
      calculated as the difference between the combined tap energies of the filter taps index -7
      to -1 and filter taps index 1 to 7. If the magnitude of this difference is greater than a
      programmable threshold the taps are instantaneously adjusted towards the center. Please
      note that adjustment of taps will result in addition or deletion of a symbol and needs to be
      accompanied by the deletion or addition (respectively) of a symbol in the data going out
      of the PMD EQ.
      The pmd_err_com_eval module performs CoM related Offset and Error Calculation,
      Tap Offset Control as well as Tap Reset Control as shown in Figure 16. It gets the partial
      20-bit CoM metrics (Com_Out_*) from the hlb_pmd_fir 4, 5, 6 and 7 and generates two


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                                              [Exhibit 1-49]
                                                                                                        ACI004893
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      Provisional Patent ApplicationCoM adaptive EQ tap correction -8                  January 22, 2011


      outputs that can help counter the movement of EQ filter laps (towards the edges) as
      shown in Figure 17.
      The partial CoM metrics from the HLBs generating outputs for a particular pole are
      summed together before being weighed by a pole-dependent scaling factor
      (Z_Com_Gain_ *). These gains I weights are to account for any PDL related mismatch
      between the two poles. The scaled results are added together and this accumulated value
      is used to generate couple of options for correcting the CoM. A programmable rounding I
      saturating oprion is made available via the Z_Com_R signal. This dictates how many
      LSBs versus MSBs are removed when the 12-bit output is generated.



      Com_Out_H2H[19:0]     ---2cl--•
      Com_Out_V2H[19:0]     ---2cl--•
      Com_Out_H2V[19:0]     ---Lll--•
                                                                  ---+--13l-----1•._   Pmd_Stat_Com_Error[12:0]
      Com_Out_V2V[19:0]

                                                                  --+--1---- Pol_Offset_Valid
         Tap Offset Interface                                     --+--4---- Pol_Offset[3:0]



         Tap Reset Interface                                                           Poi_Lock_lnvalid




                                                Config Signals



                            Figure 16. Operations performed by pmd_err_com_eval



      The first output (preferred approach) of the CoM Error I Offset Calculator is the error
      signal Pmd_Stat_Com_ErrorL12:0J going out to the STAT module. 'lbc STAT module
      can use this signal in addition to its own early-late symbol timing error signal to provide
      an aggregate error signal to the MFD for symbol timing adjustment.
      The second output (2nd option) is a 2-bit offset indicator (Com_Offset[l:O]) that goes out
      to the Tap Offset Control. This will result in the EQ shifting the filter taps to balance the
      CoM. The selection between the two options can be performed using the programmable
      controls shown in Figure 17. Setting the gain Z_Com_Stat_G[7:0] to 0 would turn off the
      first option. The sign of Z_Com_Stat_G[7:0] can control the polarity of the CoM metric
      ((early taps - late taps) versus (late taps - early taps)). Setting the Z_Com_Th[ll :0]
      (unsigned) to OxFFF (default) would turn off the second approach. Only one of the two
      approaches should be active at any time.




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                                              [Exhibit 1-50]
                                                                                                             ACI004894
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                                                      Z_Com_Gain_H         Z_Com_Stat_G   Z_Com_Stat_R
                                                                 Z_Com_R


      Com_Out_H2H[19:0]--2o+--t:::::
                                                                                                          13   ,,    Pmd_Stat_Com_Error[12:0]
      Com_Out_V2H[19: 0] --2o+--t':'}}''''}l



      Com_ Out_H2V[19 0]--2o+--t:;:;:;:;:;:;:;:;:;l
                                                                                                           2   ,__   Com_Offset[1:0]
      Com_ Out_V2V[19:0]-2o+--t=:=::




                                                      Z_Com_Gain_V             Z_Com_Th[11 :0]




                                          Figure 17. Operations performed for a PMD Tap update


      The Tap Offset Control is responsible for regulating the shift of EQ filter taps in response
      to the CoM_Offset[l:O] or the polarization offset feedback coming from the FFS module.
      The polarization offset will have precedence over the CoM related offset. So if the
      polarization offset is heing exercised the CoM offset should he ignored.
      The design has a Tap_Offset Interface going from the hlb_pmd_err to the 8
      hlb_pmd_fir. There is a unique 3-bit Tap_Offset_Indicator* for every hlb_pmd_fir for
      flexibility. The 3-bits are defined as:
                   'Y [0] : A data valid t1ag for offset. OxO (No offset required), Oxl(Offset)
                   'Y [1] : Direction of taps shift. OxO (New Tap [i] =Old Tap [i-2]), Oxl (New Tap
                          [i] = Old Tap [i+2])

                   Y      [2] : Active high blackout signal (generated by hlb_pmd_err) to block tap
                          update during and right after transition

      Based on the polarization or CoM offset the amount of shift to be performed will be
      conveyed to the hlb_pmd_fir using these Tap_Otfset_Indicator* signals.
      The CoM offset will only request shifts of one symbol (equivalent to 2 taps in the EQ
      filters) at a time which will require only one active high clock cycle of the data valid flag
      (Tap_Offset_Indicator*[O]) accompanied by the correct direction of the shift. Also the
      CoM offset will be the same for all the hlb_pmd_fir. The blackout signal
      (Tap_Offset_Indicator*[2]) should be kept high for 16 clock cycles to make sure the error
      updates generated using the older taps are flushed out of the design pipeline.
      Also note that in case of Pol_Lock_Tnvalid heing active only the V-pole needs to he
      reinitialized.



      pmd_err_ com_adjust
      The pmd_err_com_adjust module is responsible for taking in the on-time samples (64
      samples each for the 4 channels HI, HQ, VI and VQ) from the pmd_err_out_accum


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                                                                     [Exhibit 1-51]
                                                                                                                                          ACI004895
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      Provisional Patent ApplicationCoM adaptive EQ tap correction -8                      January 22, 2011


      module, making any adjustments (adding or deleting (if needed) a sample I symbol from
      the channels) based on the CoM offset and providing output on-time samples to the
      CFAT and CPR modules on a 64-samplc per channel bus with either all samples valid or
      none on a clock cycle by clock cycle basis.          A top-level block diagram of
      pmd_err_com_adjust is shown in Figure 18.


      HI_On[511 :0[
      HQ_On[511 :0]
      VI_On[511 0]
      VQ_On[511:0]      ~-____,                                                                       CFAT/CPR Interface
      On_Data_Valid
      On_Tag[30]
      On_Offset[1 :0]




                                  Figure 18. Operation stages inside pmd_err_com_adjust

      The CoM Offset Evaluation looks at the On_Offset[ 1: 0] signal and figures out that based
      on the CoM offset associated with the incoming data which of the following three actions
      need to be taken:

                 'Y Don't do anything (On_Offset[O]         =0   ... there is no offset)

                 'Y Add a symbol (On_Offset         = 2'd2)
             'Y Remove a symbol (On_Offset = 2'd3)
      Rased on this decision the Symbol Insertion I Removal block will turn the incoming 64-
      samples per channel data bus into a 65-samples wide data bus where 63, 64 or 65 samples
      may be valid on any valid clock. This should just involve a simple 3-input mux for each
      sample. The addition I deletion of symbols will be same across the four channels (III,
      HQ, VI, VQ). Please note that the offset goes active for only once valid clock cycle per
      CoM offset event.
      The Output Interface block needs to convert the 65-sample per channel wide data bus
      coming from the Symbol Insertion I Removal block to a 64-sample per channel wide data
      bus where either all or none of the samples are valid at any clock. This operation will
      involve a Barrel Shifter in some way I shape I form. Similar tasks are being tackled at
      various stages in the POLO design and so will refrain from discussing the
      implementation of this operation here. A common module written for project- wide use
      will be applied. As it turns out none of the other Barrel Shifters used elsewhere was
      applicable to this module so we tried to use as Designware shifter. That had issues during
      equivalency checking so we just created a Barrel Shifter with two multiplexor stages.
      Please note that as the MFD module is performing a similar task at its output of going
      from a smaller number of data samples available per clock to a wider bus, it is guaranteed
      that we will have empty clock cycles (clock cycles where the Mfd_Data_ Valid_* are 0)
      at least once every 32 clocks (or lesser) which will allow us to make sure that we do not
      overflow because of addition of extra symbols at this interface.
      CoM Offset Evaluation and Symbol Insertion I Removal will be performed within a clock
      cycle. The Output Interface should take a minimum of 1 or maximum of 2 clock cycles.



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                                                    [Exhibit 1-52]
                                                                                                                     ACI004896
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      Provisional Patent ApplicationMemory cut optimizations -9                            January 22, 2011


      Memory cut optimizations for decoder design

      Problem       Soft decision decoding designs require a lot of storage
      For high speed implementation it translates into a large number of very wide but not too
      deep memories. Such memories are not very area efficient for ASIC implementation

      Solution      Modifications to TPC decoder design to repartition the distribution of data
      into memory to reduce the number of less efficient memory cuts.

      Area and power savings for high-speed ASIC implementation

      Technical Keywords Soft-decision decoder, TPC, Turbo codes

      Novel This is a new technique. Can be used for any applications where TPC or other
      soft-decision decoders are used.

      Inventors      Lawrence Esker and Sameep Dave


      The lop-level of the SISO Full Iteration module instantiates two copies of the SISO axis-
      iteration as depicted in Figure 1. It also includes a bypass multiplexer and pipeline flops
      to help maintain timing closure. The top-level module will be provided in unencrypted
      form to allow full review by Ciena to tweak their system lest and power reduction
      strategies.
      The bypass logic enables a static selection of power reduction versus decoder BER
      performance system tradeoff. When bypass is enabled, the input ports will direct route to
      the output ports and a power-down control signal (for use as a gated clock enable via
      Synopsys Power Compiler) is generated.


                        Bypass

                        Src_Xfer



                                                -
                        Src_Sync


                                                                   -'}
                        Src Data   SISOAxis          SISOAxis
                                    Iteration          Iteration                Out_Xfer
                                   ;\               i\                         Out_Sync
                             I     t                ~                          Out_Data
                                                                    /
                        Clk_Core
                                    I
                                                                         I:>
                                                                         L__




                                   Figure 1. SISO Full Iteration with Bypass


      A notional view of the SISO Axis Iteration is depicted in Figure 2.




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                                                [Exhibit 1-53]
                                                                                                              ACI004897
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      Provisional Patent ApplicationMemory cut optimizations -9                                              January 22, 2011


          Src_Xfer
                          Axis
          Src_Sync                        Stage 1          Stage 2
                       Transpose                                                                              Out_Xfer
          Src Data
                                                                                                Stage 3       Out_Sync
                                                            Error
                                                                                                              Out_ Data
                                         Analysis          Locator
                                                                                               Soft Metric
                                                                                               Calculation



                                           Pipeline Buffer emulates   I   RAM W            I
                                           5-Port (1W+4R) RAM                     rapper



                                    Figure 2. SISO Axis Iteration Notional View


      The axis transpose RAM processes data at 256 elements per clock cycle. It simply swaps
      the rows and columns of the TPC such that consecutive iterations of the decoder can
      process the complete TPC block using replicated design for each axis iteration. The Axis
      Transpose contains two single port RAM arranged in a ping-pong, such that a block can
      be read in and another processed out simultaneously. The physical RAM implementation
      within the RAM Wrapper will break this up into multiple copies of narrower RAM as
      determined by the ASIC library.
      Stages 1 and 3 of the decoder processes data at multiple elements per clock cycle. There
      are multiple parallel running copies of the decoder stages and pipeline buffer RAM
      assembly. Overall, the decoder processes a large number of elements per clock, required
      to meet the desired performance throughput at the target clock speed.
      The decoder itself is highly pipelined such that while Stage 1 is analyzing a row of the
      TPC, stage 2 is examining the results of the previous row's analysis to locate errors.
      Stage 3 is computing soft metrics for an earlier row. As each row must be processed in a
      fixed number of clocks, there is not enough time for stage 2 to do its work. Multiple
      copies of stage 2 are staggered in time to enable extra clock cycles of error locating
      docks.

      To do their work, stage 2 and 3 require random access to the original input data that stage
      1 had analyzed. As a result, a 5-port RAM must be emulated. This was accomplished in
      the design using five copies of single port RAM and multiplexers to route address and
      data to the appropriate RAM. Single port RAM is usually ideal for ASIC as it typically
      consumes the least area per bit.
      While analyzing changes that would need to be made to the decoder for the high speed
      application, we discovered it is possible to alter the Pipeline Buffer topology from its
      original design.
             •       Current -- A single decoder's row pipeline buffer RAM is 5 copies of 14 words deep by
                     160 bits wide single port RAM.
             •       Alternate -- Stage 2 does not require access to all 160 bits. The 5-port emulation can be
                     reduced to 80 bits wide. In addition, there is 1 copy of 80 words deep by 80 bits wide two-
                     port RAM.
      Due to the parallelism of the design, the per row RAM requirements arc multiplied by 16
      for a axis iteration and by 8 again for the complete design.


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                                                     [Exhibit 1-54]
                                                                                                                                ACI004898
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      Provisional Patent ApplicationMemory cut optimizations -9                  January 22, 2011



      High speed SDFEC I TPC decoder design complexity is dictated by the memory as for
      highly parallel processing lots of soft-information needs the be written to I read out from
      memory on ever clock of data processing. Re-evaluating e memory cuts in the design to
      split up parts of information that need to be actively accesses versus parts that are rarely
      used and can be stowed away together helps drive the overall complexity as well as
      power consumption for the decoder design.




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                                             [Exhibit 1-55]
                                                                                                     ACI004899
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      Provisional Patent ApplicationTPC Decoding Architecture -10                 January 22, 2011


      PMD Equalizer reseeding based on initial pole offset

      Problem         In optical fiber communications PMD (polarization mode dispersion) is a
      critical impairment.

      Equalizer is required on the receiver side to track I correct PMD.

      Big polarization offset during acquisition can cause the equalizer taps to converge such
      that when the PMD recovers to nominal values the taps are not centered leading to
      degraded performance.

      Solution       Algorithm for creating feedback from the framer I decoder to PMD
      equalizer to help shift the filter taps in accordance with the polarization offset during
      acquisition.

      Ensures tap seeding such that during nominal PMD the equalizer can extract optimal
      performance

      Technical Keywords PMD, Equalizer, Dual pole, PMQPSK, PM-DQPSK

      Novel This is a new technique applicable to dual pole fiber communications.

      Inventors      Fan Mo and Sameep Dave


                       PMD Equalizer reseeding based on initial pole offset

      'lbc PMDIPDL compensation I equalizer module utilizes adaptive equalization to
      compensate for the cross polarization interference, IQ channel interference, adjacent
      symbol interference introduced by PMD and PDL in optical channel and other residual
      impairments (like residual CD).
      At initial acquisition stage if the UW detector I FFS detects a timing offset between the
      two poles it will convey that offset value to the EQ so that the filter taps can be rc-
      initialized or shifted to compensate for the offset. This offset is performed in a balanced
      fashion between the filter taps generating the outputs for the two poles to make sure
      sufficient taps arc available towards the edge of the filter.
      If such compensation is not performed the EQ might converge such that during normal
      operation the higher weight taps (on one of the poles at any time) get skewed towards the
      edge of the filter essentially turning the EQ into a filter with small number of useful
      (relatively bigger value) taps.




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                                              [Exhibit 1-56]
                                                                                                      ACI004900
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      Provisional Patent ApplicationTPC Decoding Architecture -10                 January 22, 2011



      Com_Out_H2H[19:0]     ---2cl--•
      Com_Out_V2H[19:0]     ---2cl--•
      Com_Out_H2V[19 0]     ---2cl--•                             --+--133---~    Pmd_Stat_Com_Error[12 :0]
      Com_Out_V2V[19:0]     ---ztl--•



                                                                  --+--1---- Pol_Offset_Valid
         Tap Offset Interface                                     --+--4---- Pol_Offset[3:0]



         Tap Reset Interface                                      --+-- - - - Poi_Lock_lnvalid




                                               Config Signals



      The design has a Tap_Offset Interface going from the hlb_pmd_err to the 8
      hlb_pmd_fir. There is a unique 3-bit Tap_Offset_Indicator* for every hlb_pmd_fir for
      flexibility. The 3-bits are defined as:
              'Jr [0] : A data valid flag for offset. OxO (No offset required), Oxl(Offset)
              'Jr fll : Direction of taps shift. OxO (New Tap fil =Old Tap fi-21), Oxl (New Tap
                  [i] = Old Tap [i+2])
              'Jr [2] : Active high blackout signal (generated by hlb_pmd_err) to block tap
                  update during and right after transition

      The Polarization offset may request shifts of upto +1- 3 (could be any desired number)
      symbols at a time. And it will need different amounts of correction on the hlb_pmd_fir
      responsible for the H-pole (0, 2, 4, 6) output versus V-pole output (1, 3, 5, 7) as shown in
      Error! Reference source not found •. The number of active high clock cycle of the data
      valid flag (Tap_Offset_Indicator*[O]) required for a set of hlb_pmd_fir HLBs will be
      equal to the number of symbol shifts required for its taps. Because of taps needing to
      cross HLB boundaries during the shift the data valid should be sent as multiple 1 clock
      cycle wide pulses, once every 4 clock cycles. This will give enough time for the end taps
      from one HLB to transferred to the other HLB and be apart of the updated taps. The
      blackout signal (Tap_Offset_Indicator*[2]) should be kept high for 16 clock cycles to
      make sure the error updates generated using the older taps are flushed out of the design
      pipeline. Please note that Pol_Offset being positive means H pole is leading the V pol.




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                                             [Exhibit 1-57]
                                                                                                         ACI004901
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      Provisional Patent ApplicationTPC Decoding Architecture -10                    January 22, 2011

      Table 1. Desired tap offsets based on Pol_Offset[3:0] IV -II offset from FFS




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                                                 [Exhibit 1-58]
                                                                                                        ACI004902
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      Provisional Patent Application                   One Trial-11             January 22, 2011


      One trial per dock architecture for high speed TPC Decoding

      Problem        For very high speed TPC decoder designs high degree of parallelism is
      needed. The most complex processing stage in the TPC decoder is the processing stage
      where multiple trials I attempts at decoding are made. Decoding trials need to be spaced
      at t clocks where t is the correction capacity of the component BCH code. Requires
      duplicating the whole trial processing stage.

      Solution        Architecture change where selective replication of a small portion of the
      trial processing stage can allow to launch one trial per clock. Leads to significant
      reduction of overall decoder complexity.

      Technical Keywords 100 G, TPC, Decoder, Chase

      Novel This is a new architecture that can avoid needing multiple copies of the most
      complex section of the decoder design for high speed applications thus reducing
      complexity.

      Inventors      Sameep Dave and Lawrence Esker

                  One trial per clock architecture for high speed TPC Decoding

      The lop-level of the SISO Full Iteration module instantiates two copies of the SISO axis-
      iteration as depicted in Figure 1. It also includes a bypass multiplexer and pipeline flops
      to help maintain timing closure. The top-level module will be provided in unencrypted
      form to allow full review by Ciena to tweak their system test and power reduction
      strategies.
      The bypass logic enables a static selection of power reduction versus decoder BER
      performance system tradeoff. When bypass is enabled, the input ports will direct route to
      the output ports and a power-down control signal (for use as a gated clock enable via
      Synopsys Power Compiler) is generated.


                        Bypass

                        Src_Xfer
                        Src_Sync
                        Src_Data   SISO Axis      SISOAxis
                                                   Iteration




                                   Figure 1. SISO Full Iteration with Bypass


      A notional view of the SISO Axis Iteration is depicted in Figure 2.




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                                               [Exhibit 1-59]
                                                                                                    ACI004903
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      Provisional Patent Application                     One Trial-11                                   January 22, 2011


          Src_Xfer
                        Axis
          Src_Sync                   Stage 1          Stage 2
                     Transpose                                                                           Out_Xfer
          Src Data
                                                                                           Stage 3       Out_Sync
                                                       Error
                                                                                                         Out_ Data
                                     Analysis         Locator
                                                                                          Soft Metric
                                                                                          Calculation



                                      Pipeline Buffer emulates   I   RAM W            I
                                      5-Port (1W+4R) RAM                     rapper



                                 Figure 2. SISO Axis Iteration Notional View


      The axis transpose RAM processes data at 256 elements per clock cycle. It simply swaps
      the rows and columns of the TPC such that consecutive iterations of the decoder can
      process the complete TPC block using replicated design for each axis iteration. The Axis
      Transpose contains two single port RAM arranged in a ping-pong, such that a block can
      be read in and another processed out simultaneously. The physical RAM implementation
      within the RAM Wrapper will break this up into multiple copies of narrower RAM as
      determined by the ASIC library.
      Stages 1 and 3 of the decoder processes data at multiple elements per clock cycle. There
      are multiple parallel running copies of the decoder stages and pipeline buffer RAM
      assembly. Overall, the decoder processes a large number of elements per clock, required
      to meet the desired performance throughput at the target clock speed.
      The decoder itself is highly pipelined such that while Stage 1 is analyzing a row of the
      TPC, stage 2 is examining the results of the previous row's analysis to locate errors.
      Stage 3 is computing soft metrics for an earlier row. As each row must be processed in a
      fixed number of clocks, there is not enough time for stage 2 to do its work. Multiple
      copies of stage 2 are staggered in time to enable extra clock cycles of error locating
      docks.
      Stage 2 is the most computationally intensive stage in the decoding process and needing
      multiple copies of this stage hugely impacts the overall decoder complexity. This
      invention proposes replication of just few pieces inside the stage 2 such that instead of
      every trial taking a few clock cycles, one trial can he launched per clock. This can
      drastically reduce the number of copies of the stage 2 of the decoding process for high
      speed applications leading to major savings in overall complexity.

      One of the main reasons why trials take multiple dock cycles is that if a given trial finds
      a few error locations the logic has to access the soft information data from memory for
      these locations one by one to evaluate the effectiveness of the trial. Instead of doing this
      one-by-one for the various error locations if a multi-port memory is employed the
      information can be gathered within a clock cycle allowing the decoding to proceed at one
      trial per cycle.




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                                                [Exhibit 1-60]
                                                                                                                           ACI004904
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      Provisional Patent Application     Acronyms                             January 22, 2011




            Acronym/Abbreviation                               Definition

                     ACT                             Automatic Configuration Tool

                     ASIC                        Application Specific Integrated Circuit

                     BER                                     Bit Error Rate

                      BPE                                Block Phase Estimator

                      CD                                  Chromatic Dispersion

                     CDC                                   CD Compensation

                     CFAT                      Carrier Frequency Acquisition and Tracking

                     CPR                                 Carrier Phase Recovery

                     DFT                               Discrete Fourier Transform

                    DWDM                        Dense Wavelength Division Multiplexing

                    ENOR                                Effective Numher Of Rits

                      EQ                                        Equalizer

                      FEC                               Forward Error Correction

                      FFS                               FEC Frame Synchronizer

                      FFT                                Fast Fourier Transform

                      FIR                               Finite Impulse Response

                     FPGA                           Field Programmable Gate Array

                    HDFEC                                  Hard Decision FEC

                      HI                           I channel of Horizontal polarization

                      HQ                          Q channel of Horizontal polarization

                     IFFT                                     Inverse FFT

                      IIR                               Infinite Impulse Response

                     MPD                                Matched Pilter Decimator




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                                       [Exhibit 1-61]
                                                                                                 ACI004905
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      Provisional Patent Application     Acronyms                           January 22, 2011


                      NA                                   Not Applicable

                     NCO                          Numerically Controlled Oscillator

                       PI                                Proportional-Integral

                     PMD                            Polarization Mode Dispersion
                      pp                                  Physical Partitions

                     QEF                                Quadrature Error Filter

                     QPSK                          Quadrature Phase Shift Keying

                     RLM                                 RTL Layout Macro

                     STAT                      Symbol Timing Acquisition and Tracking

                     TBD                                    To Be Decided

                     TRR                                   ToRe Reviewed

                      uw                                    Unique Word

                                                Unique word inserted in the horizontal
                     UWH
                                                           polarization

                     uwv                  Unique word inserted in the vertical polarization

                      VI                          I channel of Vertical polarization

                      VQ                          Q channel of Vertical polarization




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                                       [Exhibit 1-62]
                                                                                                 ACI004906
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      Provisional Patent Application                                        January 22, 2011




      WHAT IS CLAIMED IS:
      1.     An apparatus and a method for high rate optical communication as described in
      the specification and figures.




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                                          [Exhibit 1-63]
                                                                                               ACI004907
 Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3679 Page 68 of 128


                               Electronic Patent Application Fee Transmittal
Application Number:


Filing Date:




Title of Invention:                                  High Rate Optical Communication




First Named Inventor/Applicant Name:                 Sameep Dave


Filer:                                               Charles Nicholas Pateros/Stacy Nguyen


Attorney Docket Number:                              ECC-0452-US


Filed as Large Entity


Provisional Filing Fees

                                                                                                      Sub-Total in
                         Description                        Fee Code        Quantity         Amount
                                                                                                        USD($)


Basic Filing:


                  Provisional application filing               1005              1            220         220


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


                                                   [Exhibit 1-64]
                                                                                                                ACI004908
 Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3680 Page 69 of 128
                                                                                 Sub-Total in
                 Description                 Fee Code     Quantity      Amount
                                                                                   USD($)


Miscellaneous:


                                                     Total in USD ($)            220




                                    [Exhibit 1-65]
                                                                                         ACI004909
 Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3681 Page 70 of 128
                                      Electronic Acknowledgement Receipt

                         EFSID:                      9283569


                  Application Number:                61435278


         International Application Number:


                  Confirmation Number:               5581




                    Title of Invention:              High Rate Optical Communication




       First Named Inventor/Applicant Name:          Sameep Dave


                   Customer Number:                  31864


                          Filer:                     Charles Nicholas Pateros


                   Filer Authorized By:


                Attorney Docket Number:              ECC-0452-US


                      Receipt Date:                  22-JAN-2011


                       Filing Date:


                      TimeStamp:                     11:19:23


                    Application Type:                Provisional


Payment information:
Submitted with Payment                               yes

Payment Type                                        Credit Card

Payment was successfully received in RAM             $220

RAM confirmation Number                              8480

Deposit Account

Authorized User

File Listing:
 Document   I         Document Description                  File Name               File Size( Bytes)/   I    Multi   'I     Pages
  Number                                                                            Message Digest           Part /.zip    (ifappl.)
                                               I                                I
                                                   [Exhibit 1-66]
                                                                                                                              ACI004910
 Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3682 Page 71 of 128
                                                                                                 1060271
                                                     FiledECC-0452ProvisionaiSB.
      1            Provisional Cover Sheet (SB16)                                                                               no   4
                                                                pdf
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Warnings:
Information:

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                                                       FiledECC-0452-US-prov-
     2                     Specification                                                                                        no   55
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Warnings:
Information:

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     3               Fee Worksheet (PT0-875)                fee-info. pdf                                                       no    2
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New A~~lications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
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National Stage of an International A~~lication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
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New International A~~lication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
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national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




                                                     [Exhibit 1-67]
                                                                                                                                     ACI004911
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3683 Page 72 of 128




                          Exhibit 2




                                   [Exhibit 2-68]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3684 Page 73 of 128



                UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                Ul\TfED STI\TES DEPA RTME'IT OF COMMERCE
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                                                                                        PO Box 1450
                                                                                        Alexandria, Virgmia 22313-1450
                                                                                        \VVi\V.USpto.gov


  APPLICATION       FILING or
    NUMBER         37l(c)DATE               FIL FEE REC'D               ATTY.DOCKET.NO
  61/521,263      08/08/2011                    220                  P001.12 (78120.0014)
                                                                                        CONFIRMATION N0.1904
 16565                                                                          FILING RECEIPT
 Holland & Hart LLP (ViaSat)
 P.O. Box 8749                                                                 111111111111111111111111]~!1]~~~~~~~~~1~~~~~~il~l] 11111111111111111111111
 Denver, CO 80201
                                                                                                           Date Mailed: 08/24/2011




Receipt is acknowledged of this provisional patent application. It will not be examined for patentability and will
become abandoned not later than twelve months after its filing date. Any correspondence concerning the application
must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE, NAME OF
APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection. Please verify
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to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
Applicant( s)
                  Fan Mo, Hinckley, OH;
                  Sameep Dave, Hinckley, OH;
Power of Attorney:
Michael Drapkin--55127


If Required, Foreign Filing License Granted: 08/18/2011
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 61/521 ,263
Projected Publication Date: None, application is not eligible for pre-grant publication
Non-Publication Request: No
Early Publication Request: No
Title
                FRAME FORMATTING FOR HIGH RATE OPTICAL COMMUNICATIONS

                 PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
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in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
                                                       page 1 of 3




                                                    [Exhibit 2-69]
                                                                                                                                                     ACI004912
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3685 Page 74 of 128




patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.


Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
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issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
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Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
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can be viewed on the USPTO website at http://www.uspto.gov/web/offices/pac/doc/general/index.html.


For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
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this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
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                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code, Section 184
                          Title 37, Code of Federal Regulations, 5.11 & 5.15
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respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
                                                       page 2 of 3




                                                    [Exhibit 2-70]
                                                                                                                      ACI004913
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3686 Page 75 of 128




Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
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from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).




                                                       page 3 of 3




                                                    [Exhibit 2-71]
                                                                                                                      ACI004914
     CaseTR.PROV
Doc Code: 3:16-cv-00463-BEN-JMA Document                                   87-2 Filed 02/02/18 PageID.3687 Page 76 of 128
Document Description: Provisional Cover Sheet (SB16)
                                                                                                                                                           PTO/SB/16 (11-08)
                                                                                                                      Approved for use through 09/30/2010 OMB 0651-0032
                                                                                                U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
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                                         Provisional Application for Patent Cover Sheet
                  This is a request for filing a PROVISIONAL APPLICATION FOR PATENT under 37 CFR 1.53(c)

 lnventor(s)

 Inventor 1                                                                                                                          Remove

 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Fan                                                    Mo                           Hinckley                 OH                              us

 Inventor 2                                                                                                                          Remove

 Given Name                 Middle Name                  Family Name                 City                      State                           Country i

Sameep                                                 Dave                         Hinckley                 OH                              us
 All Inventors Must Be Listed- Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                         I     Add       I
 Title of Invention                                       FRAME FORMATTING FOR HIGH RATE OPTICAL COMMUNICATIONS

 Attorney Docket Number (if applicable)                   P001.12 (78120.0014)

 Correspondence Address

 Direct all correspondence to (select one):


 (!) The address corresponding to Customer Number                           0     Firm or Individual Name


 Customer Number
                                                                             16565




 The invention was made by an agency of the United States Government or under a contract with an agency of the United
 States Government.

 (!) No.
 0    Yes, the name of the U.S. Government agency and the Government contract number are:




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                                                                         [Exhibit 2-72]
                                                                                                                                                              ACI004915
     CaseTR.PROV
Doc Code: 3:16-cv-00463-BEN-JMA Document                                   87-2 Filed 02/02/18 PageID.3688 Page 77 of 128
Document Description: Provisional Cover Sheet (SB16)
                                                                                                                                                           PTO/SB/16 (11-08)
                                                                                                                      Approved for use through 09/30/2010 OMB 0651-0032
                                                                                                U.S. Patent and Trademark Office: U.S. DEPARTMENT OF COMMERCE
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 Entity Status
 Applicant claims small entity status under 37 CFR 1.27

 0   Yes, applicant qualifies for small entity status under 37 CFR 1.27
 (!) No
 Warning

 Petitioner/applicant is cautioned to avoid submitting personal information in documents filed in a patent application that may
 contribute to identity theft. Personal information such as social security numbers, bank account numbers, or credit card
 numbers (other than a check or credit card authorization form PT0-2038 submitted for payment purposes) is never required
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 after publication of the application (unless a non-publication request in compliance with 37 CFR 1.213(a) is made in the
 application) or issuance of a patent. Furthermore, the record from an abandoned application may also be available to the
 public if the application is referenced in a published application or an issued patent (see 37 CFR1.14). Checks and credit
 card authorization forms PT0-2038 submitted for payment purposes are not retained in the application file and therefore are
 not publicly available.

 Signature

 Please see 37 CFR 1.4(d) for the form of the signature.

 Signature        /Michael L. Drapkin/                                                                      Date (YYYY-MM-DD}                   2011-08-08

 First Name                                        Last Name                                                Registration Number
                  Michael L.                                               Drapkin                                                              55127
                                                                                                            (If appropriate}

 This collection of information is required by 37 CFR 1.51. The information is required to obtain or retain a benefit by the public which is to
 file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection
 is estimated to take 8 hours to complete, including gathering, preparing, and submitting the completed application form to the USPTO.
 Time will vary depending upon the individual case. Any comments on the amount of time you require to complete this form and/or
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 the provisional application.




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                                                                         [Exhibit 2-73]
                                                                                                                                                              ACI004916
         Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3689 Page 78 of 128
                                                   Privacy Act Statement




The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of
the attached form related to a patent application or paten. Accordingly, pursuant to the requirements of the Act, please be
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The information provided by you in this form will be subject to the following routine uses:

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    3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
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    7.         A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services,
          or his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
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          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
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    9.         A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
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                                                            [Exhibit 2-74]
                                                                                                                           ACI004917
                                                                                                                                                         PTO/SB/14 (11-08)
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3690
                                                           Approved for use throughPage    79OMB
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                                                                                                  128
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                                                                     Attorney Docket Number                   P001.12 (78120.0014)
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention            FRAME FORMATTING FOR HIGH RATE OPTICAL COMMUNICATIONS

 The application data sheet is part of the provisional or non provisional application for which it is being submitted. The following form contains the
 bibliographic data arranged in a format specified by the United States Patent and Trademark Office as outlined in 37 CFR 1.76.
 This document may be completed electronically and submitted to the Office in electronic format using the Electronic Filing System (EFS) or the
 document may be printed and included in a paper filed application.



Secrecy Order 37 CFR 5.2
 D      Portions or all of the application associated with this Application Data Sheet may fall under a Secrecy Order pursuant to
        37 CFR 5.2 (Paper filers only. Applications that fall under Secrecy Order may not be filed electronically.)

    r t Inorma
A,pp11can f   r1on:
 Applicant 1
                                                                                                                                         I Remove I
 Applicant Authority @Inventor                 I   0Legal Representative under 35 U.S.C. 117                        I0Party of Interest under 35 U.S.C. 118
 Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
           Fan                                                                                                Mo
  Residence Information (Select One)                      ®    US Residency            0    Non US Residency               O    Active US Military Service
 City      Hinckley                                       State/Province           I   OH     I   Country of Residence i             I   US
 Citizenship under 37 CFR 1.41(b) i                       CN
 Mailing Address of Applicant:
 Address 1                           6155 El Camino Real
 Address 2
 City
                I   Carlsbad                                                           I   State/Province              I   CA
 Postal Code                         92009-1699                                I   Countryi       I us
 Applicant 2
                                                                                                                                         I Remove I
 Applicant Authority @Inventor                 I   0Legal Representative under 35 U.S.C. 117                        I0Party of Interest under 35 U.S.C. 118
 Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
           Sameep                                                                                             Dave
  Residence Information (Select One) (!) US Residency                                  0    Non US Residency               0    Active US Military Service
 City      Hinckley                                       State/Province           I   OH     I   Country of Residence i             I   US
 Citizenship under 37 CFR 1.41(b) i                       IN
 Mailing Address of Applicant:
 Address 1                           6155 El Camino Real
 Address 2
 City
                I   Carlsbad                                                           I   State/Province              I   CA
 Postal Code                         92009-1699                                I   Countryi       I us
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
 generated within this form by selecting the Add button.                                                                                 I    Add
                                                                                                                                                     I
Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

 D      An Address is being provided for the correspondence Information of this application_

EFS Web 2.2.2
                                                                          [Exhibit 2-75]
                                                                                                                                                                  ACI004918
                                                                                                                                                         PTO/SB/14 (11-08)
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3691
                                                           Approved for use throughPage    80OMB
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                                                                       Attorney Docket Number                 P001.12 (78120.0014)
 Application Data Sheet 37 CFR 1.76
                                                                       Application Number

 Title of Invention          FRAME FORMATTING FOR HIGH RATE OPTICAL COMMUNICATIONS


 Customer Number                          16565

 Email Address                            patentdocket@ho llandhart. com
                                                                                                                      I       Add Email             IRemove Email I
Application Information:
 Title of the Invention                   FRAME FORMATIING FOR HIGH RATE OPTICAL COMMUNICATIONS

 Attorney Docket Number P001.12 (78120.0014)                                               I Small Entity Status Claimed D
 Application Type                         Provisional

 Subject Matter                           Utility

 Suggested Class (if any}                                                                  I Sub Class (if any)l
 Suggested Technology Center (if any}
 Total Number of Drawing Sheets (if any)                           9                       I Suggested Figure for Publication (if any} I
  Publication Information:
 D      Request Early Publication (Fee required at time of Request 37 CFR 1.219)

        Request Not to Publish.                             I hereby request that the attached application not be published under 35 U.S.
 D     C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the subject of
       an application filed in another country, or under a multilateral international agreement, that requires publication at
       eighteen months after filing.




Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Enter either Customer Number or complete the Representative Name section below. If both sections
 are completed the Customer Number will be used for the Representative Information during processing.

 Please Select One:                   0     Customer Number              I0     US Patent Practitioner           IO       Limited Recognition (37 CFR 11.9)
 Customer Number                      16565




Domestic Benefit/National Stage Information:
 This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate National Stage
 entry from a PCT application. Providing this information in the application data sheet constitutes the specific reference required by
 35 U.S.C. 119(e) or 120, and 37 CFR 1.78(a)(2) or CFR 1.78(a)(4), and need not otherwise be made part of the specification.

     Prior Application Status                                                                                                           I Remove I
      Application Number                            Continuity Type                     Prior Application Number                 Filing Date (YYYY-MM-DD)


 Additional Domestic Benefit/National Stage Data may be generated within this form
 by selecting the Add button.                                                                                                           I   Add
                                                                                                                                                     I
Foreign Priority Information:
EFS Web 2.2.2
                                                                          [Exhibit 2-76]
                                                                                                                                                                  ACI004919
                                                                                                                                                         PTO/SB/14 (11-08)
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3692
                                                           Approved for use throughPage    81OMB
                                                                                   0913012010. of 0651-0032
                                                                                                  128
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                                                                     Attorney Docket Number                   P001.12 (78120.0014)
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          FRAME FORMATTING FOR HIGH RATE OPTICAL COMMUNICATIONS


 This section allows for the applicant to claim benefit of foreign priority and to identify any prior foreign application for which priority is
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 First Name          Michael L.                I   Last Name        I Drapkin                                 Registration Number               55127




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EFS Web 2.2.2
                                                                          [Exhibit 2-77]
                                                                                                                                                                  ACI004920
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           disclosure shall not be used to make determinations about individuals.

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           CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
           terminated and which application is referenced by either a published application, an application open to public inspections or an issued
           patent.

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EFS Web 2.2.2
                                                                     [Exhibit 2-78]
                                                                                                                                                       ACI004921
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                                                                                           PATENT
                                                                ViaSat Docket No: ECC-0452-US-12
                                                          Attorney Docket No.: P001.12 (7R120.0014)



                 FRAME FORMATTING FOR HIGH RATE OPTICAL
                                      COMMUNICATIONS


                                           BACKGROUND

     [0001]   The present disclosure relates to systems, devices, and methods for demodulation in
 5   fiber optic communications systems.

     [0002]   Fiber optic channels in network communications systems are widely deployed and
     are considered effective for data transmission, allowing relatively high bandwidth data
     communication. Optical fiber is typically flexible and can be bundled in cables. It is often
     used for long-distance communications because light propagates through the fiber with little
10   attenuation compared to electrical cables. Typical present day commercial optical fiber
     systems transmit data at 10 or 40 Gbps. Each fiber can carry multiple independent channels,
     each using a different wavelength of light in a technique known as wavelength-division
     multiplexing (WDM).

     [0003]   Increased data transmission rates would be desirable as demand for bandwidth
15   increases. However, in fiber optic systems, as data rates increase various optical phenomena
     begin to manifest and act to limit data transmission rates. For example, optical effects from
     chromatic dispersion (CD), polarization mode dispersion (PMD), and polarization dependent
     loss (PDL) begin to have a significant impact on the data transmission rate.


                                              SUMMARY

20   [0004]   Methods, systems, devices, and computer program products are described for
     formatting of data streams to be transmitted over fiber optic channels, and for processing
     received optical signals. An exemplary data transmission device may include a digital coding
     and modulation module that encodes a digital data stream, inserts unique words into the
     digital data stream, and modulates the encoded data stream and unique words onto a plurality
25   of optical channels for transmission over an optical fiber. An exemplary demodulator and
     decoding device may include a unique word identification module that identifies the unique
     words inserted in each optical channel stream, determines one or more characteristics of the



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                                              [Exhibit 2-79]
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     plurality of optical channels based on the unique words, and provides the one or more
     characteristics to one or more other modules in the demodulator and decoding device. Other
     functionality may be implemented, as described in more detail below.


                             BRIEF DESCRIPTION OF THE DRAWINGS

 5   [0005]   A further understanding of the nature and advantages of the present invention may
     be realized by reference to the following drawings. In the appended figures, similar
     components or features may have the same reference label. Further, various components of
     the same type may be distinguished by following the reference label by a dash and a second
     label that distinguishes among the similar components. If only the first reference label is
10   used in the specification, the description is applicable to any one of the similar components
     having the same first reference label irrespective of the second reference label.

     [0006]   FIG. 1 is a block diagram of an optical communication system including
     components configured according to various embodiments of the invention.

     [0007]   FIG. 2 is a block diagram of a digital coding and modulation unit according to
15   various embodiments of the invention.

     [0008]   FIG. 3 is a block diagram of an alternate digital coding and modulation unit
     according to various embodiments of the invention.

     [0009]   FIG. 4 is a block diagram of exemplary incoming and outgoing streams from a
     unique word insertion module, differential encoding module, and associated transmission
20   optical interface module according to various embodiments of the invention.

     [0010]   FIG. 5 is a illustration of a bit stream used to insert unique words into dual-polarity
     QPSK channels block diagram of a digital coding and modulation unit according to various
     embodiments of the invention.

     [0011]   FIG. 6 is a block diagram of a digital demodulation and decoding unit according to
25   various embodiments of the invention.

     [0012]   FIG. 7 is a block diagram of a digital demodulation unit according to various
     embodiments of the invention.

     [0013]   FIG. 8 is a flow chart of a method for inserting a unique word into optical streams to
     be transmitted over optical fibers according to various embodiments of the invention.



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                                              [Exhibit 2-80]
                                                                                                        ACI004923
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     [0014]   FTG. 9 is a flow chart of a method for digital demodulation of optical signals based
     on signal characteristics determined from identification of unique words present on a plurality
     of optical channels according to various embodiments of the invention.


                         DETAILED DESCRIPTION OF THE INVENTION

 5   [0015]   Methods, systems, devices, and computer program products arc described for
     formatting of data streams to be transmitted over fiber optic channels, and for processing
     received optical signals. An exemplary data transmission device may include a digital coding
     and modulation module that encodes a digital data stream, inserts unique words into the
     digital data stream, and modulates the encoded data stream and unique words onto a plurality
10   of optical channels for transmission over an optical fiber. An exemplary demodulator and
     decoding device may include a unique word identification module that identifies the unique
     words inserted in each optical channel stream, determines one or more characteristics of the
     plurality of optical channels based on the unique words, and provides the one or more
     characteristics to one or more other modules in the demodulator and decoding device.
15   Additional functionality may be implemented, as described in more detail below.

     [0016]   This description provides examples, and is not intended to limit the scope,
     applicability or configuration of the invention. Rather, the ensuing description will provide
     those skilled in the art with an enabling description for implementing embodiments of the
     invention. Various changes may be made in the function and arrangement of elements.

20   [0017]   Thus, various embodiments may omit, substitute, or add various procedures or
     components as appropriate. For instance, it should be appreciated that the methods may be
     performed in an order different than that described, and that various steps may be added,
     omitted or combined. Also, aspects and elements described with respect to certain
     embodiments may be combined in various other embodiments. It should also be appreciated
25   that the following systems, methods, devices, and software may individually or collectively
     be components of a larger system, wherein other procedures may take precedence over or
     otherwise modify their application.

     [0018]   Systems, devices, methods, and software are described for an optical
     communication system that utilizes fiber optic optical cables as a data transmission medium.
30   An example of an optical data transport system 100 is illustrated in FIG. 1. In this
     embodiment, the optical data transport system 100 includes a data source that provides data


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                                              [Exhibit 2-81]
                                                                                                       ACI004924
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     to a digital coding and modulation unit 105. The data source may include any of a number of
     common data sources, such as a user telecommunications device, a cable operator head-end
     unit, a telecommunications provider central office, a computer server, or a network attached
     storage system, to name but a few examples. In many embodiments, the data source
 5   generates significant quantities of data to be transported across the optical data transport
     system 100. The digital coding and modulation unit 105 receives this data, and performs
     framing, forward error correction coding, and modulation functions on the data. In various
     embodiments, the digital coding and modulation unit 105 inserts a unique word into the data
     stream for each optical channel over which data will be sent. The electrical-to-optical (E-0)
10   unit 110 transforms the data and inserted unique words into optical signals, and transmits
     optical signals containing the data via a fiber connection 115. The fiber connection 115 may
     include well known components of such connections, including a fiber optic cable. An
     optical-to-electrical (0-E) unit 120 receives the optical signal from the fiber connection 115,
     and transforms the data into the electrical domain. The digital demodulation and decoding
15   unit 120 receives the digitized version of the optical signal and detects the unique words that
     are inserted onto each optical channel. The detection of the unique words on each channel
     can be used to provide characteristics of the optical channels that may be used to the digital
     demodulation and decoding unit 120 when performing demodulation, forward error
     correction decoding, and de-framing functions on the data from the optical signal. The digital
20   demodulation and decoding unit 120 may then output the data (e.g., to a user
     telecommunications device, a cable operator head-end unit, a telecommunications provider
     central office, a computer server, or a network attached storage system).

     [0019]   FIG. 2 illustrates a digital coding and modulation unit 105-a. In the illustrated
     embodiment, the digital coding and modulation unit 105-a includes a data transport layer
25   framer module 205, a FIFO module 210, an FEC coder module 215, an interleaving module
     220, a unique word insertion module 225, a differential encoding module 230, and a
     transmitter optical interface module 235. The data transport layer framer module 205 may
     place the data received from the data source into packet frames for transmission. The packet
     frames may conform to one of many common protocols for packet frames used in optical
30   communications systems which commonly include a header and a payload, and possibly a
     trailer, such as a CRC. As is well understood, the header may be interleaved with the payload
     during transmission, depending upon the particular protocol being used for optical
     transmission. The FIFO module 21 0 queues the packet frames received from the data


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                                               [Exhibit 2-82]
                                                                                                       ACI004925
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     transport layer framer module 205. The FEC coder module 215 calculates and adds forward
     error correction (FEC) information to the frames of data received from the data transport
     layer framer module 205. The particular type of FEC information of various embodiments
     generally includes systematically generated redundant error-correcting code (ECC) data that
 5   is transmitted along with the frames, and in an embodiment FEC information includes turbo
     product code (TPC) information. Interleaving module 220, in the embodiment of Fig. 2,
     receives the FEC information and frames of data, and interleaves the FEC information with
     the frames of data to reduce the likelihood of a channel error removing all FEC data for a
     particular frame. Unique word insertion module 225, in the embodiment of Fig. 2, inserts
10   unique words into the data stream received from the interleaving module 220. Unique words
     may be added to each transmitted optical channel to assist with the decoding and
     demodulation of the optical signals containing different streams of data. In one embodiment,
     the interleaved frames of data are modulated using dual-polarity (dual-pole) quadrature-
     phase-shift-keying (QPSK), resulting in four optical channels. The unique word insertion
15   module 225 of this embodiment inserts a unique word into the data stream for each of the
     four optical channels. The inserted unique word is a different unique word for each optical
     channel, that is inserted into the data stream for the optical channel periodically. Differential
     encoding module 230 provides differential encoding for the interleaved FEC encoded frames
     and unique words. Differential encoding is a well known technique in which data to be
20   transmitted depend not only on the current bit (or symbol), but also on the previous one, such
     as through an exclusive OR function. The differentially encoded data is then provided to the
     transmitter optical interface module 235. The transmitter optical interface module 235 may
     forward the modulated data to the E-0 module (Fig. 1) where it may be transmitted in the
     optical domain via dual-pole QPSK modulation, resulting in four parallel optical streams.
25   Other modulation schemes may be used in other examples, as well.

     [0020]   As will be readily understood by one of skill in the art, the particular arrangement of
     the modules of FIG. 2 are exemplary, and the particular order in which data is processed may
     vary, and particular functions of various modules may be modified and/or combined. An
     exemplary alternative configuration of a digital coding and modulation unit 105-b is
30   illustrated in FIG. 3. In this exemplary embodiment, the digital coding and modulation unit
     105-b includes the modules as described with respect to digital coding and modulation unit
     105-a of FIG. 2, arranged in an alternate order. In the example ofFIG. 3, the digital coding
     and modulation unit 105-b includes a data transport layer framer module 305, a FIFO module


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                                               [Exhibit 2-83]
                                                                                                         ACI004926
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     310, an FEC coder module 315, an interleaving module 320, a differential encoding module
     325, a unique word insertion module 330, and a transmitter optical interface module 335. In
     this particular example, differential encoding module 325 receives data from interleaving
     module 320. Differential encoding module 325 provides differential encoding for the
 5   interleaved FEC encoded frames, which is then provided to unique word insertion module
     330. Unique word insertion module 330, in the embodiment of FIG. 3, inserts unique words
     into the differentially encoded data stream received from the differential encoding module
     325. Similarly as discussed with respect to FIG. 2, unique words may be added to each
     transmitted optical channel to assist with the decoding and demodulation of the optical
10   signals containing different streams of data. Tn one embodiment, the interleaved frames of
     data are modulated using dual-pole QPSK, resulting in four optical channels, and the unique
     word insertion module 330 inserts a unique word into the data stream for each of the four
     optical channels, and provide the data stream to the transmitter optical interface module 335.
     In the embodiment of FIG. 3, the transmitter optical interface module 335 modulates the data
15   onto a number of optical channels and forwards the modulated data to the E-0 module (Fig.
     1) where it may be transmitted in the optical domain via dual-pole QPSK modulation,
     resulting in four parallel optical streams. Other modulation schemes may be used in other
     examples, as well.

     f0021]   The unique word insertion module 225 of FIG. 2, as briefly discussed, inserts a
20   unique word into each data stream corresponding to each transmitted optical channel. It is
     noted that unique word insertion module 330 of FIG. 3 operates in a similar manner, and
     various aspects of the unique word insertion module 225 will be described in more detail with
     the understanding that such discussion applies equally to unique word insertion module 330.
     With reference now to FIG. 4, an illustration of incoming and outgoing data streams 400 of
25   unique word insertion module 225-a, differential encoding module 230-a, and transmitter
     optical interface module 235-a, is described. In this example, an interleaved FEC encoded bit
     (or symbol) stream 405 is received at unique word insertion module 225-a. Similarly as
     described above, unique word insertion module 225-a inserts unique words into the stream
     405, and provides the stream and unique words to differential encoding module 230-a, which
30   provides a differentially encoded stream to transmitter optical interface module 235-a. The
     transmitter optical interface module 235-a may modulate the incoming data stream onto
     different optical channels according to various modulation techniques. In one example, the
     incoming data stream is modulated using dual-pole QPSK onto four different optical


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                                              [Exhibit 2-84]
                                                                                                      ACI004927
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     channels, namely a horizontal in-phase (HI) channel, a horizontal quadrature (HQ) channel,
     vertical in-phase (VI) channel, and a vertical quadrature (VQ) channel. Data transmitted on
     each of the optical channels may be selected, for example, by taking a first received bit (or
     symbol) and modulating it onto the HI channel, taking the second received bit and
 5   modulating it onto the HQ channel, and so on. In such an embodiment, the unique word
     insertion module 225-a inserts unique word bits into the data stream periodically to produce
     output data streams for each channel that have periodic unique words embedded therein. The
     output from the transmitter optical interface module 235-a thus provides an HI data stream
     410 that has a first unique word periodically included therein, an HQ data stream 415 that has
10   a second unique word periodically included therein, a VI data stream 420 that has a third
     unique word periodically included therein, and a VQ data stream 425 that has a fourth unique
     word periodically included therein. Each of the first, second, third, and fourth unique words
     are selected to uniquely identify the particular data stream associated with the unique word.
     When the transmitted optical signals are received at a receiver, these unique words may be
15   identified and assist with compensation and demodulation of received optical signals. In one
     embodiment, the unique words include pseudonoise (PN) code generated for the unique word
     in each data stream 410 through 425.

     [0022]   The unique word insertion module 225-a inserts bits of data into the incoming
     interleaved FEC encoded bit stream 405 such that data streams 410 through 425 each include
20   the correct corresponding unique word. As mentioned, the transmitter optical interface
     module 235-a may modulate consecutively received bits onto separate HI, HQ, VI, and VQ
     data streams. In such a case, the unique word insertion module 225-a inserts a bit stream into
     the interleaved FEC encoded bit stream 405 in which each fourth bit corresponds to a
     particular unique word. An example of such a unique word insertion bit stream 500 is
25   illustrated in FIG. 5. In this example, each unique word is n/4 bits in length, resulting in
     unique word insertion bit stream 500 that is n bits. These n bits are periodically inserted into
     the incoming interleaved FEC encoded bit stream 405 according to a predetermined interval,
     with bits 1, 5, 9, and so on through bit n-3 corresponding to the first unique word (UWl) of
     HI data stream 410. Likewise, bits 2, 6, 10, and so on through bit n-2 correspond to the
30   second unique word (UW2) ofHQ data stream 415; bits 3, 7, 11, and so on through bit n-1
     correspond to the third unique word (UW3) of VI data stream 420; and bits 4, 8, 12, and so
     on through bit n correspond to the fourth unique word (UW4) ofVQ data stream 425. Of
     course, other modulation techniques may be used in which data is modulated onto optical


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                                              [Exhibit 2-85]
                                                                                                        ACI004928
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     channels according to different sequences, and the unique word insertion module 225-a
     provides the unique word insertion bit stream accordingly so as to provide each optical
     channel with a corresponding unique word.

     [0023]   As illustrated in FIG. 6, a digital demodulation and decoding unit 125-a may
 5   include a number of modules. ln this embodiment the digital demodulation and decoding
     unit 125-a includes a receiver optical interface module 605, a unique word identification
     module 610, demodulator module 615, an FEC decoder module 620, and a data transport
     layer de-framer module 625. The receiver optical interface 605 is the interface from the 0-E
     unit 120. The receiver optical interface module 605 provides electrical signals to a unique
10   word identification module 61 0 that identifies the unique words that are inserted in each of
     the optical channel data streams. The unique word identification module 610 removes the
     unique words from each respective data stream, and determines information related to the
     received data streams that may be derived from the unique word identification, such as the
     particular received channel on which the unique words are identified, and the timing of the
15   receipt of the unique words. This information may be provided to other modules for
     assistance in the demodulating and/or decoding of the received optical channels. The
     electrical signals, are provided from the unique word identification module 61 0 to
     demodulator module 615. Demodulator module 615 may include a differential decoding
     module that decodes differential encoding that may have been performed at digital coding
20   and modulation module 105. Various embodiments of the demodulator module 615 will be
     discussed in further detail below. The information from the demodulator module 615 is
     provided to FEC decoder module 620 which decodes and may correct transmission errors
     identified from error-correcting code. The FEC decoder module 620 provides decoded data
     to the data transport layer de-framer module 625, which de-frames the data from the signal
25   according to the particular protocol used in the optical transmission, and provides output data.
     The data output may be, for example, a user or any receiving system.

     [0024]   These components of may, individually or collectively, be implemented with one or
     more Application Specific Integrated Circuits (ASTCs) adapted to perform some or all of the
     applicable functions in hardware. Alternatively, the functions may be performed by one or
30   more other processing units (or cores), on one or more integrated circuits. In other
     embodiments, other types of integrated circuits may be used (e.g., Structured/Platform
     ASICs, Field Programmable Gate Arrays (FPGAs) and other Semi-Custom ICs), which may
     be programmed in any manner known in the art. The functions of each unit may also be

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                                              [Exhibit 2-86]
                                                                                                        ACI004929
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     implemented, in whole or in part, with instructions embodied in a memory, formatted to be
     executed by one or more general or application-specific processors.

     [0025]   Referring now to FIG. 7, a demodulator unit 700 is described. This may be the
     digital demodulator unit 615 of FIG. 6. In this example, two polarization components are
 5   received, one horizontal component (H) and one vertical component (V). Each of the H and
     V components includes both an in-phase (I) component and a quadrature (Q) component. For
     reference, the two components in the horizontal polarization are referred to as HI (horizontal
     in-phase component) and HQ (horizontal quadrature component). Similarly, the two
     components in the vertical polarization are referred to as VI (vertical in-phase component)
10   and VQ (vertical quadrature component). The demodulator unit 800 processes the digitized
     samples of the I and Q components of the two polarization components to recover the
     transmitted data. At the input, the demodulator unit 700 accepts the four parallel streams
     carrying HI, HQ, VI and VQ samples. In one embodiment, each stream contains multiple
     samples per clock. At its output the demodulator may provide demodulated hard-decision
15   data (although in other examples, soft-decision data may be provided) to the FEC decoder
     module. The demodulator unit 700 may identify the beginning of a FEC frame.
     Additionally, in some embodiments the demodulator unit 700 receives feedback signals from
     the FEC decoder module 620 regarding the convergence status for error correction.
     Furthermore, in some embodiments the demodulator unit 700 receives information from
20   unique word identification module 610 to assist in the demodulation.

     [0026]   In some embodiments, the demodulator unit 700 is implemented as an application
     specific integrated circuit (ASIC) that includes a number of functional modules. In such
     embodiments, the demodulator unit 700 may have a control and monitor interface bus 705
     connected to a host processor 710 allowing for configuration of demodulator parameters
25   (filter coefficients, loop gains, etc.) and extraction of demodulator status. With continuing
     reference to FIG. 7, several of the sub-modules within the demodulator unit 700 of various
     embodiments are described. In this embodiment, a quadrature error filter (QEF) module 715
     provides a collection of data formatting, error detection and correction functions. In one
     embodiment, input data samples are expected to be in binary-offset /offset-binary format and
30   are converted to a two's complement (2C) format for processing within a digital signal
     processor. The incoming HI, HQ, VI and VQ streams, in some embodiments, also can be
     independently swapped and inverted if needed, allowing for any design issues that might
     translate into an accidental inversion or IQ swap. Each data stream of these various

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                                              [Exhibit 2-87]
                                                                                                      ACI004930
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     embodiments may be processed to remove polarization skew (between Hand V poles) as
     well as I-Q skew within a pole. The QEF module 715 may provide for detection and removal
     of four types of quadrature signal errors: I/Q Skew, DC bias, I/Q amplitude imbalance, and
     I/Q phase imbalance. All four error detectors may be independently enabled or disabled, in
 5   some embodiments, via the processor interface, and the detected error values are output as
     status values via this same interface. The QEF module 715 may also output a gain control
     signal that may be used by other components of the system.

     [0027] The QEF module 715 is connected with a frequency offset removal module 720. The
     frequency offset removal module 720 in one example performs a frequency rotation on the
10   data samples coming out ofthe QEF module 715. The amount of frequency rotation is
     controlled by a frequency error input that is sourced by a carrier frequency acquisition and
     tracking (CFAT) module 740. Such frequency offset removal function may remove residual
     frequency left from the LO laser tuning in the optical domain. A chromatic dispersion
     compensation module 725 removes bulk chromatic dispersion from the horizontal and
15   vertical polarization channels. The compensation may be applied via a filter in the frequency
     domain. The amount of correction may be controlled by the chromatic dispersion filter inputs
     that are derived outside of the demodulator module 700 and provided via the host processor
     710 and control and monitor interface bus 705, in this embodiment.

     [0028]    A matched filter decimator (MFD) module 730 may implement an interpolation
20   function that provides decimation on samples taken at two+£ times the symbol rate. In one
     embodiment, each of the four data streams has an independent bank of FIR filters with
     selected coefficients. The incoming data is processed through the filter banks to produce two
     samples per symbol for each data stream. Data samples are gathered and assembled into
     blocks of fixed numbers of samples per stream per clock by a sample block assembler. The
25   assembly function may be identical for the I and Q streams in each polarization so one
     assembly block may service two streams. A PMD/PDL compensation module 735 may
     utilize adaptive equalization to compensate for cross-polarization interference, IQ channel
     interference, and adjacent symbol interference introduced by PMD and PDL in the optical
     channel and other residual impairments, such as residual chromatic dispersion as mentioned
30   above. In one embodiment, an adaptive equalizer takes in data at one or two
     samples/symbols from the MFD module 730 and processes the data through a bank of FIR
     filters with adaptive filter tap coefficients.



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                                                 [Exhibit 2-88]
                                                                                                     ACI004931
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     [0029]   Tn some embodiments, a symbol timing acquisition and tracking (STAT) module
     745 may estimate symbol timing using an early/late symbol radius matching scheme and PI
     controller, and generate an error signal to correct symbol timing. This STAT module 745, in
     an embodiment, also has a symbol timing lock detection mechanism that outputs a symbol
 5   lock indicator. In various embodiments, there are two sets of gains for the PI controller (wide
     band for acquisition and narrow band for tracking). When not in timing lock, the wide band
     gains may be used, otherwise, the narrowband gains may be used. The STAT module 745
     may perform symbol timing acquisition and tracking of a portion of the optical signal after
     the PMD/ PDL compensation module compensates for interference caused by PMD and PDL
10   and before carrier phase recovery on the portion of the optical signal.

     [0030]   The CFAT module 740 may be responsible for acquiring, as well as tracking, carrier
     frequency. Carrier frequency acquisition is achieved using one of a number of techniques,
     such as through fast Fourier transform (FFT) with appropriate averaging and peak frequency
     component detection. The CFAT module 740 may provide a frequency error input to the
15   frequency offset removal module 720. The CFAT module 740, in some embodiments, also
     provides a control output for the local oscillator (LO) frequency offset output, that may be
     used with data from the frame synchronization and interface module 760. A carrier phase
     tracking and recovery module 750 may use a feed-forward algorithm with a block phase
     estimator and a phase rotation function to remove residual frequency and phase errors. The
20   carrier phase tracking and recovery module 750 may operate on the on-time data samples
     produced by the PMD compensation module. A differential decoder 755 may be responsible,
     in various embodiments, for accepting symbol streams from the carrier phase tracking and
     recovery module 750 (e.g., at 1 sample per symbol). The differential decoder 755 may be
     configured to differentially decode the signal and provide the decoded output (e.g., a hard-
25   decision output data stream) to the frame synchronization and interface module 760. The
     frame synchronization and interface module 760 processes data to achieve frame
     synchronization, and may include functional blocks for data alignment, frame sync detection,
     and clock transfer. The frame synchronization module 760 may be configured to skew, swap,
     and rotate received channels with respect to each other. In some embodiments the frame
30   synchronization module 760 receives information from unique word identification module
     610 to assist in data alignment, frame sync detection, and/or clock transfer.




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                                              [Exhibit 2-89]
                                                                                                       ACI004932
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     [0031]   FIG. 8 is a flow chart of a method 800 for digital modulation and encoding of an
     optical signal according to various embodiments of the invention. The method 800 may be
     performed by the digital modulation and encoding unit 105 ofFIGs. 1 through 3.

     [0032]   At block 805, incoming data is received. Incoming data may be generated from a
 5   data source that provides data to a digital coding and modulation unit, such as unit 105 of
     FIG. 1. The data source may include any of a number of common data sources, such as a
     user telecommunications device, a cable operator head-end unit, a telecommunications
     provider central office, a computer server, or a network attached storage system, to name but
     a few examples. At block 810, the received data is formatted into packet frames for
10   transmission. The packet frames may conform to one of many common protocols for packet
     frames used in optical communications systems which commonly include a header and a
     payload, and possibly a trailer, such as a CRC. As is well understood, the header may be
     interleaved with the payload during transmission, depending upon the particular protocol
     being used for optical transmission. At block 815, the stream of packet frames is encoded
15   with forward error correction code (FEC) to generate an encoded but stream. The particular
     type of FEC information of various embodiments generally includes systematically generated
     redundant error-correcting code (ECC) data that is transmitted along with the frames, and in
     an embodiment FEC information includes turbo product code (TPC) information. The FEC
     information may be interleaved with the frames of data to reduce the likelihood of a channel
20   error removing all FEC data for a particular frame. At block 820, a unique word is inserted
     into the encoded bit stream for each transmitted optical channel. Such unique words may
     assist with the decoding and demodulation of the optical signals containing different streams
     of data. In one embodiment, the interleaved frames of data are modulated using dual-polarity
     (dual-pole) quadrature-phase-shift-keying (QPSK), resulting in four optical channels, with a
25   unique word inserted into the data stream for each of the four optical channels. Differential
     encoding may be applied to the bit stream either before or after the addition of the unique
     words. The encoded data streams and unique words transmitted over an optical fiber
     connection, as indicated at block 825. Transmission may be performed in the optical domain
     via dual-pole QPSK modulation, resulting in four parallel optical streams. Other modulation
30   schemes may be used in other examples, as well.

     [0033]   FIG. 9 is a flow chart of a method for digital demodulation of an optical signal
     according to various embodiments of the invention. The method 900 may be performed by



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                                              [Exhibit 2-90]
                                                                                                     ACI004933
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     the digital demodulation and decoding unit 125 ofFTG. 1 or 6. More specifically, the method
     900 may be performed by the demodulator unit 615, or 700 of FIG. 6 or 7, respectively.

     [0034]   At block 905, a digitized version of an optical signal is received, including four
     parallel streams: a horizontal in-phase (HI) stream, a vertical in-phase stream (VI), a
 5   horizontal quadrature (HQ) stream, and a vertical quadrature (VQ) stream. At block 910, a
     unique word in each of the four parallel streams is identified. At block 915, characteristics of
     the parallel data streams are determined based on the identification of the unique words.
     Such characteristics may include, for example, the particular received channel on which the
     unique words are identified, and the timing of the receipt of the unique words. At block 920,
10   the data streams are demodulated into data transport frames using, in part, characteristics of
     the optical signals determined using the identified unique words. In various embodiments,
     one or more modules within an demodulator and decoder may receive one or more measured
     characteristics of the parallel data streams that were determined based on the identification of
     the unique words, which may be used to assist in the demodulating and/or decoding of the
15   received optical channels.

     [0035]   These components may, individually or collectively, be implemented with one or
     more Application Specific Integrated Circuits (ASICs) adapted to perform some or all of the
     applicable functions in hardware. Alternatively, the functions may be performed by one or
     more other processing units (or cores), on one or more integrated circuits. In other
20   embodiments, other types of integrated circuits may be used (e.g., Structured/Platform
     ASICs, Field Programmable Gate Arrays (FPGAs) and other Semi-Custom ICs), which may
     be programmed in any manner known in the art. The functions of each unit may also be
     implemented, in whole or in part, with instructions embodied in a memory, formatted to be
     executed by one or more general or application-specific processors.

25   [0036]   It should be noted that the methods, systems and devices discussed above are
     intended merely to be examples. It must be stressed that various embodiments may omit,
     substitute, or add various procedures or components as appropriate. For instance, it should be
     appreciated that, in alternative embodiments, the methods may be performed in an order
     different from that described, and that various steps may be added, omitted or combined.
30   Also, features described with respect to certain embodiments may be combined in various
     other embodiments. Different aspects and elements of the embodiments may be combined in
     a similar manner. Also, it should be emphasized that technology evolves and, thus, many of


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                                              [Exhibit 2-91]
                                                                                                        ACI004934
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     the elements are exemplary in nature and should not be interpreted to limit the scope ofthe
     invention.

     [0037]    Specific details are given in the description to provide a thorough understanding of
     the embodiments. However, it will be understood by one of ordinary skill in the art that the
 5   embodiments may be practiced without these specific details. For example, well-known
     circuits, processes, algorithms, structures, and techniques have been shown without
     unnecessary detail in order to avoid obscuring the embodiments.

     [0038]   Also, it is noted that the embodiments may be described as a process which is
     depicted as a flow diagram or block diagram. Although each may describe the operations as
10   a sequential process, many of the operations can be performed in parallel or concurrently. In
     addition, the order of the operations may be rearranged. A process may have additional steps
     not included in the figure.

     [0039]   Moreover, as disclosed herein, the term "memory" may represent one or more
     devices for storing data, including read-only memory (ROM), random access memory
15   (RAM), magnetic RAM, core memory, magnetic disk storage mediums, optical storage
     mediums, flash memory devices or other computer-readable mediums for storing
     information. The term "computer-readable medium" includes, but is not limited to, portable
     or fixed storage devices, optical storage devices, wireless channels, a sim card, other smart
     cards, and various other mediums capable of storing, containing or carrying instructions or
20   data.

     [0040]   Furthermore, embodiments may be implemented by hardware, software, firmware,
     middleware, microcode, hardware description languages, or any combination thereof. When
     implemented in software, firmware, middleware or microcode, the program code or code
     segments to perform the necessary tasks may be stored in a computer-readable medium such
25   as a storage medium. Processors may perform the necessary tasks.

     [0041]   Having described several embodiments, it will be recognized by those of skill in the
     art that various modifications, alternative constructions, and equivalents may be used without
     departing from the spirit of the invention. For example, the above elements may merely be a
     component of a larger system, wherein other rules may take precedence over or otherwise
30   modify the application of the invention. Also, a number of steps may be undertaken before,
     during, or after the above elements are considered. Accordingly, the above description
     should not be taken as limiting the scope of the invention.

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                                              [Exhibit 2-92]
                                                                                                      ACI004935
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    WHAT IS CLAIMED IS:

1                 1.   A system, apparatus, or method as described in the Specification
2   and/or Drawings.




                                              15



                                        [Exhibit 2-93]
                                                                                          ACI004936
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                                                                                          PATENT
                                                               ViaSat Docket No: ECC-0452-US-12
                                                         Attorney Docket No.: P001.12 (7R120.0014)

                                ABSTRACT OF THE DISCLOSURE


            Methods, systems, and devices are described for formatting of data streams to be
   transmitted over fiber optic channels, and for processing received optical signals. An
    exemplary data transmission device may include a digital coding and modulation module that
    encodes a digital data stream, inserts unique words into the digital data stream, and modulates
   the encoded data stream and unique words onto a plurality of optical channels for
   transmission over an optical fiber. An exemplary demodulator and decoding device may
   include a unique word identification module that identifies the unique words inserted in each
   optical channel stream, determines one or more characteristics of the plurality of optical
    channels based on the unique words, and provides the one or more characteristics to one or
   more other modules in the demodulator and decoding device.




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                                            [Exhibit 2-94]
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                                             Inventor: Dave e! al.
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 +                                                      [Exhibit 2-95]
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      [Exhibit 2-96]




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      [Exhibit 2-97]




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           [Exhibit 2-98]




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                                          Inventor: Dave e! al.
                                  Attomey Docket No.: P001.12 (78120.0014)
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      [Exhibit 2-100]




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                                                               [Exhibit 2-101]
                                                                                                                           ACI004944
Case 3:16-cv-00463-BEN-JMA       Document
                  Title: FRAME FORMATTING FOR87-2      Filed
                                               HIGH RATE        02/02/18
                                                             OPTICAL      PageID.3717 Page 106 of
                                                                     COMMUNICATIONS
                                                128
                                          Inventor: Dave e! al.
                                  Attomey Docket No.: P001.12 (78120.0014)
                                      Client Ref. No.: ECC-0452-US-12
                                                Sheet 8 of9


                                                                                                  +

                                      Receive incoming data
                                                                                    805
                                                                             '"""

                                    Format received data into a
                                     stream of packet frames                        810
                                                                             '"""

                                  Encode steam of frames with
                                  forward error correction code
                                  (FEC) to generate encoded bit                     815
                                             stream
                                                                             '"""
                                   Insert a unique word into the
                                    encoded bit stream for each
                                  optical channel onto which the
                                    encoded bit stream is to be                     820
                                             transmitted
                                                                             '""'
                                   Transmit encoded bit streams
                                    and corresponding unique
                                     words over optical fiber
                                           connection
                                                                             '"'    825




                                                                                          "'800


                                                FIG. 8

+                                          [Exhibit 2-102]
                                                                                                  ACI004945
Case 3:16-cv-00463-BEN-JMA       Document
                  Title: FRAME FORMATTING FOR87-2      Filed
                                               HIGH RATE        02/02/18
                                                             OPTICAL      PageID.3718 Page 107 of
                                                                     COMMUNICATIONS
                                                128
                                          Inventor: Dave e! al.
                                  Attomey Docket No.: P001.12 (78120.0014)
                                      Client Ref. No.: ECC-0452-US-12
                                                Sheet 9 of9


                                                                                                +
                                   Receive a digitized version of
                                     an optical signal including
                                    four parallel streams: an HI
                                    stream, a VI stream, an HQ
                                      stream, and a VQ stream
                                                                             '"'   905




                                   Identify unique word in each
                                    of the four parallel streams
                                                                             ~
                                                                                   910


                                                          ~


                                    Determine characteristics of
                                   the four parallel data streams
                                   based on the identification of
                                         the unique words
                                                                             '"'   915


                                                     .,
                                   Demodulate the data streams
                                    into data transport frames
                                    using characteristics of the ~
                                    optical signals determined     920
                                    using the identified unique
                                               words




                                                                                         "900

                                                FIG. 9




+                                          [Exhibit 2-103]
                                                                                                ACI004946
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3719 Page 108 of
                                        128

                               Electronic Patent Application Fee Transmittal
Application Number:


Filing Date:




Title of Invention:                                   FRAME FORMATIING FOR HIGH RATE OPTICAL COMMUNICATIONS




First Named Inventor/Applicant Name:                  Fan Mo


Filer:                                                Michael L. Drapkin/Sherry Soares


Attorney Docket Number:                               P001.12 (78120.0014)


Filed as Large Entity


Provisional Filing Fees

                                                                                                      Sub-Total in
                         Description                           Fee Code       Quantity   Amount
                                                                                                        USD($)


Basic Filing:


                  Provisional application filing                 1005              1      220             220


Pages:


Claims:


Miscellaneous-Filing:


Petition:


Patent-Appeals-and-Interference:


Post-Allowance-and-Post-Issuance:


Extension-of-Time:


                                                   [Exhibit 2-104]
                                                                                                                ACI004947
  Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3720 Page 109 of
                                                                         Sub-Total in
                 Description           128Fee Code    Quantity Amount
                                                                              USD($)


Miscellaneous:


                                                      Total in USD ($)      220




                                    [Exhibit 2-105]
                                                                                  ACI004948
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3721 Page 110 of
                                         128
                         Electronic Acknowledgement   Receipt

                         EFSID:                               10690916


                  Application Number:                         61521263


         International Application Number:


                  Confirmation Number:                        1904




                    Title of Invention:                       FRAME FORMATIING FOR HIGH RATE OPTICAL COMMUNICATIONS




       First Named Inventor/Applicant Name:                   Fan Mo


                   Customer Number:                           16565


                          Filer:                              Michael L. Drapkin/Sherry Soares


                   Filer Authorized By:                       Michael L. Drapkin


               Attorney Docket Number:                        P001.12 (78120.0014)


                      Receipt Date:                           08-AUG-2011


                       Filing Date:


                      TimeStamp:                              18:50:48


                    Application Type:                         Provisional


Payment information:
Submitted with Payment                                        yes

Payment Type                                                 Deposit Account

Payment was successfully received in RAM                      $220

RAM confirmation Number                                       5578

Deposit Account                                               082623

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.17 (Patent application and reexamination processing fees)

      Charge any Additional Fees required under 37 C.F.R. Section 1.21 (Miscellaneous fees and charges)


                                                          [Exhibit 2-106]
                                                                                                                                ACI004949
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3722 Page 111 of
File Listing:                           128
Document                                                                                        File Size( Bytes)/                         Multi              Pages
                   Document Description                             File Name
 Number                                                                                         Message Digest                            Part /.zip        (ifappl.)

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                                                         P00112_78120-0014_Provision
     1           Provisional Cover Sheet (SB16)                                                                                              no                 3
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Warnings:

Information:

                                                                                                           1031493
     2              Application Data Sheet                  P00112_78120-0014_ADS.pdf                                                        no                 4
                                                                                           d85e93265f0f232b6cbe0a92f3344392ef64
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Warnings:

Information:

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                                              Multipart Description/PDF files in .zip description

                                   Document Description                                                      Start                                 End


                                            Specification                                                        1                                     14



                                               Claims                                                           15                                     15



                                              Abstract                                                          16                                     16


Warnings:

Information:

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               Drawings-only black and white line        P00112_78120-0014_Drawings.
     4                                                                                                                                       no                 9
                          drawings                                  pdf
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Warnings:

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     5               Fee Worksheet (SB06)                           fee-info. pdf                                                            no                 2
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Warnings:

Information:

                                                             Total Files Size (in bytes)                                           2336628




                                                            [Exhibit 2-107]
                                                                                                                                                               ACI004950
   Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3723 Page 112 of
                                                        128 date by the USPTO of the indicated documents,
This Acknowledgement Receipt evidences receipt on the noted
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 0), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.




                                                    [Exhibit 2-108]
                                                                                                                     ACI004951
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3724 Page 113 of
                                     128




                         Exhibit 3




                                 [Exhibit 3-109]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3725 Page 114 of
                                     128




                                                                              a Delaware corporation             its
                                                                                                   92011-1699, and
                                                                             cwvahoga "'""''!§A"·"' Ohio 44125
                                                                                            a Delaware corporatic.n
                                                                         Suite 4500, Waltham> Massachusetts
                                                                  J.i·tt~<>l't1-o... Date defined in Clause l.


         WHEREAS                has extensive background and            in. communic.aHons sys1;ems, and
         intellec.tua1 property core   err   core")         and verification; including tlie
         incorporation of communications technology on a variety of platforms, such as Application
         Specific Integrated Circuits (ASICs)) Field Programmable. Gate Arrays (FPGAs) programmable
         Digital Signal Processors (l)SPs), and software (C/C++, Matlab, etc.).

                                                                        unctertake the              of an
                                                                             an IP core for Soft Decision
                                                                    "SDFEC                     an OTU4




                                                                                                  forth

                (a)                                                                   or under common
                                                          means the power to determine the management
                                              tumnPn£h1n of           of the               of its issued
                                                     nhtu of
                                                 T'YI"''I                                          Of by




                (b)                   Infonnation" means all Intellectual
        design data and                  (a) owned or licensed by VIASAT prior to the t-<tt••"t"""'
        tbis·Agreement,.or (b)          or                      separate and apart
        Background Information shall also include all technical      manuals and         documentation
        and data related to any of the foregoing. For the sake of clarity, and without limiting the
        foregoing, the SDFEC Core shall be deemed Background Infonnation.

                (c)       "Copyrights'' means copyrights and copyrightable works, in any form or medium
        now in existence or hereinafter created and all derivative works thereto> and all registrations,
        applications and renewals for any of the foregoing.

                (d)      "Deliverables" shall mean the deliverables provided by VIASAT to ACACIA
        pursuant to the Development Sef'/ices. For the. sake of clarity, the term Deliverable shall include
        all Foreground Information and Licensed Materials provided by VIASAT to ACACIA hereunder.

                (e)      "Development Services.. shall have the me1mtrt,g set forth in Clause 2(a).



                        IP CORE DEVELOPMENT AND LICENSE AGREEi~·fENT NO. TGl/102009
                                                   1 of13




                                                      [Exhibit 3-110]
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                                     128




                (f)         "Effective Date'' means the c.ommencement date of this
                estl:~.bl1sht:~d as  last date         the Parties hereto on the last

               (g)      "End User" means an
        Licensed Products.

                (li)         nlntell~ctual                                                            or
                      and whether or not reduced to practice);                    patent applications
        con:tin1l~ltions thereof; works of authotsbip and.other              Works; Copyrights;
                  trade secrets· (including, without. limitatipn~                 fonnulae~ .compositions,
        manufacturing           production processes      techniques, know.how)           and de,relc1pm\ent
        information, drawings, specifications~ .designs, plans, proposals, technical data, software (source
        and. object code), fmancial, business and marketing. plans, sales and promotional literature,
        customer and supplier lists and related information); infonnation technologies (including, without
        limitation, software programs (both source and .object code), data and          documentation); all
        other intellectual property rights throughout. the world; and all                   embodiments. of
        the foregoingin whatever form or medium.                 ·




                                                                                             of Deliverable
                                                                                        or first
                                                                              de1Jreloned                by
                                                             performittg services for ACACIA under this
                                                                                         pex·sortnel in the
                                                                                          AgJreexnertt, and




               (k)      HLicensed Materials" means the SDFEC Core provided to , . . . . ,ru,_,u;   A


        the Development Services           in whatever fonn provided (whether as
        cartridges, magnetic       semiconductor chips or otherw\se) or                     (whether as
        fumware, microcode or othenvise) and including all changes, additions, revisions, replacements,
        manuals and documentation thereto which VlASAT may provide under this                       the
        avoidance of doubt, source code for Licensed Materials shall not be delivered to ACACIA under
        this           and shall not be a Licensed Material.

                 (I)      "Licensed Products" means any integrated circuits (ASIC and/or FPGA)
        designed, manufactured] marketed or sold by or on behai f of ACACIA that incorporate all or any
        part of the Licensed Materials (regardless of whether or not the Licensed Materials are enabled or
        disabled in such Licensed Product).

               (m)         "Royalty Bearing Products'~ means Licensed Products that incorporate all or part
        of the Licensed Materials regardless of whether or not the Licensed Materials are in an enabled
        form or disabled form.


                          lP CORE DEVELOPl'r!ENT AND LICENSE AGREEMENT iVO. TGJ 1102009
                                                     Page 2 of13




                                                                                                               uI   r
                                                      [Exhibit 3-111]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3727 Page 116 of
                                     128




                (n)      "Pennitted Use,. means use        ACACIA of the Licensed Matexials in accordance
             Clause 4 below.

                (o)                           Fee" shall mean the per unit recurrtn2                 payable
        to VlASAT                                           M~A~--~~~..-   in




                (q)       ,.Licensed Materials   Specifications>~   means the specifications for the Licensed
        Materials set forth in Exhibit B.

               (r)       "Specifications" means the                                       and the Licensed
        Materials Specifications, cottectJVelv




                                                                                                          of




                                                                                                  toward the


                  (c)       VIASAT may invoice ACACIA for the NRE Fee upon completion of each
        pa'Vlll'ent milestone set forth in Exhibit A {hereafter referred to as a   Milestone,) and
        ACACIA's acceptance thereof in accordance with Clause 2(d). Payment associated with each
        successfully achievedPayment Milestone shall payable within thirty (30)         ACACIA's
                  of ViaSat1 S invoice. Any undisputed amounts not paid when due    subject to a late
        payment fee of one and one-half percent (1.5%) per month or the maximum amount            by
        law, whichever is less.

                (d)       Acceptance of the Development Services work shall occur after completion of
        acceptance tests in accordance with the SOW in Exhibit A. Acacia shall evaluate, and if
        applicable, conduct prelilllinary tests to verify conformance of each Deliverable to the applicable
        Specifications, and notify VIASAT of its acceptance within the applicable review time cycle(s) set
        forth in the SOW. If, within such applicable review time cycle ACACIA, in its good faith
        judgment, reasonably believes that any portion of the Deliverab1es does not conform to the
        applicable Specifications in any material respect; ACACIA shall within such applicable
        time cycle deliver written notice to VIASAT of such non~conformity to the applicable

                        IP CORE DEVELOPMENT AND LJCENSEAGREEl!-:lEfff NO. TG11102009
                                                     Page 3 of l3




                                                     [Exhibit 3-112]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3728 Page 117 of
                                     128




                                                                                        (b) agree:ing
                                                   asscJciaLted Deliverable's Payment Muest<me,
                                                         forth in. Exhibit A, or (d) terrninl:ttin,gtl:lds A,gt,'ef:me111t
                                                                                                    such acceptance
                                                                                                               cycle(s)
                                                                                                               mutually
                                                                                                           which such




            entitled to retain all amounts             to
        toward the           occur          Milestone. Notwithstan.dinl~       a1hvthma
        the event that ACACIA                this Af:T.ree:met1t DlllrStlant
        ner1eunaer, including without limitation
        revoked.



                   (a)       ACACIA sha1l                       title and interest in and to all
        Int<>rm;:~.tio:n,
                        including all                                     and thereto. VIASAT will promptly
                   and fl.llly disclose                             to ACACIA. All             Information is
        works made for hire to the extent allowed by law and, in addition, VIASAT, at ACACIA's
        expense, hereby makes and agrees to make all               necessary to accomplish the tor1egomg
        ownership. VIASAT shall assist ACACIA7 at ACACIA 1s sole expense, to
        record and          such assignments, and to          obtain,                   and defend any
        rights assigned. IfVIASAT is unavailable, um11Jle or unwilling to so assist ACACIA, VIASAT
        hereby irrevocably designates and appoints ACACIA, solely in connection with the exercise of its
        ownership rights in the Foreground Infonnation, as it agent and attorney in    to act for and in
        VIASAT's behalf to execute and file any document and to do all other lawfully             acts to
        further the foregoing with    same legal force and      as if executed by VIASAT.

                (b)       If any prut of the Foreground Information is based on, incorporates or is an
        improvement or derivative of, or cannot be reasonably and fully                  used, reproduced,
        modified, distributed or otherwise exploited~ without using any Background Information, then
        VIASAT hereby grants and agrees to grant to ACACIA a limited, nonexclusive, ""'"n"'t''"''
        irrevocable, worldwide,                sublicensable right and license to make, have made, use and
        have used, sell, import~ export, reproduce, modify and make derivative works of such Background
        Information for the sole and exclusive purpose of design~ simulation, implementation, manufacture


                            IP CORE DEVELOPl'rlENT AND LICENSE AGREEMENT NO. TG111020tJ9
                                                       Page 4 of 13




                                                       [Exhibit 3-113]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3729 Page 118 of
                                     128




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                                                   (including any modif1,cations. 1rnnrove~me:nts
                                        nthPT\llT1i:Pin COnnection with <>-~•"'-'-'~
                                          agrees not to use or disclose
                                     it is not fully            to      the tor~egoine




                                                                                                                               use,
                                                                                                                        simulation,
                                                                                                                       have made,
                                                     otl11ervvis~~ distrltbu1~e ...,..l"'"'"<;)"•u Pr-nrhlf'!tl;! incorporating the
                    M~lter1a1s on a worldwide basis. Use                                                 for any product other
                                     is strictly prohibited unless ACACIA has entered into a                                written
                                    for such use.

                                                                                                       Agreerrlent su~ject to: (i)
                                                                                                                           under
                                                                                                          accordlan<;e with the




          Notwjths,tanldirtg a1nvthm12: to the contrary contained in this                           no                             Fee
                                 ................""'"' Products that are: (i) used or distributed solely for internal use by
                     P.Vi"'"'"'"" ""n                        sale of the same would bear such                                      (i.i)
         used                                                                                                                      any
                                                                                                                              use an:d
                                                                                               dtstntmte~d to an End User as
                                                                                                 .1-JJ.'-'"'u.::.,.u Product (but only

         to the extent a                             Royalty Fee was paid on the original                 Product so replaced or
         corrected), (iv) returned by an End User (except only to the extent a complete refund of the
         pw-chase price is made by                                 to .such End User), or (v) used solely for ACACIA's
         manufacturing or

                (c)                                 As additional protection for          Confidential
        Information, VIASAT agrees that during the period over which it is (or is supposed to be)
        providing Development Sen'ices under this Agt:eement (i) and for six (6) months thereafter (the
        "Restricted Period"), ViaSat will not (i) engage in activities related to the     Infonnation
        which are directly competitive with the 100Gb transponder module business or demonstrably
        anticipated 1OOGb transponder business of ACACIA or (ii) provide services related to the
        ''Foreground Information,. to (a) any third parties in the 100Gb optical       module
        who are engaged in activities directly competitive \vith the 1OOGb transponder business or
        demonstrab1y anticipated 1OOGb transponder business of ACACIA or (b) any third party that is or


                                CORE DEVELOPMENT AND LICENSE AGREEMENT NO. TGll 102009
                                                   Page 5 of 13




                                                                [Exhibit 3-114]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3730 Page 119 of
                                     128




                                                                             if such        in        of the




                                                      or local taxes, duties or similar             however
                               except for income        imposed by the U$. Government o~ its political
         en!-l,rtnJrt«:!tl"ln"' which     belevied upon VIASAT1n connection with this             (excluding
         taxes based on VIAS AT's income) shall be for the account of ACACIA and paid directly by
         ACACIA or, if required to be paid                    shall be immediately reimbursed by ACACIA. to
         VIAS AT upon evidence of payment.

         6.


                 (a)                   the Term ACACIA shall
        sufficient d~tail to       the n,.,,..,.,,,,.,t.,
        ViaS at to confirm the same pursuantto




                                                                           so report.
                                                  report, ACACIA shall submit its payment
                                                       means of electronic wire transfer




                                 Bank:        Union Bank of California
                                              530 "B" Street
                                                 San         CA 921014407 USA
                Routing Tr.:tnsit #:           122000496
                        AcctName:             ViaSat, Inc. General            Account
                            Acct#:            4000142625
                          SwiftiD:            BOFC US 33 .MPK
                                              (For international wire transfers)

         Any Recl!rring Royalty Fees which are not paid by ACACIA within thirty (30) days after the
         close of the calendar quarter in wluch ACACIA received the revenue attributable to such Royalty
         Bearing Product shall be subject to a late payment fee of one and one-half pel'cent ( 1.5%) per
         month orthe m.a.,'<imum          permitted by law1 whicl1ever is less.




                           IP CORE D.EVELOPi~'fENT AND liCENSE AGREEMENT NO. TG1/ 102009
                                                            Page 6 ofl3




                                                            [Exhibit 3-115]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3731 Page 120 of
                                     128




         7.

                (a)       The term of this                    shall commence as of the Effective Date and shall
        continue until tenmu::tate:a as set forth in this. crause 7 e'Ten1l1').




                                        may terminate this Ag-Jree1:ner1t
                                                           for a:JlY breach
                                              notice            the cause
                                In the .event of termination nu1rsu1ant
                                    to such termination will remain due and
                           mnmc1tive relief                 VfASAT to recover from r•L•"-"-Hrl.
                                         "-'"~"'"··'~"'L in addition to any other remedies


                                                                                ext>res:slv set forth below, the
                                                                        ob1Igati0l1S trJnposed hereunder will
        cease; (ii) ACACIA will             the Licensed Materials,                all copies and aU relevant
        docijlllentation and within ten days of termination provide written certification of such destruction
        to                         if this             is terminated for any reason other than ACACIA's
        material                  ACACIA may sell any·Licensed Products already                        as of the
        effective date of Termination subject io payment of the applicable Recurring Royalty Fee for
        Royalty Bearing Products sold. The provisions of Clauses 1, 3, 8, 9, 11, 12,             18, 19 and
        Clause 7(d) will sutvive the termination of this AeJreexuelltt.

         8.

               (a)     ACACIA acknowledges that alllntellecmal Property Rights in the Background
       Information and the Licensed Materials are and will remain the sole property of VIASAT,
       including all modifications, improvements, and derivative works        to the Background
       Information and the Licensed Materials, including but not limited to all modifications,
       improvements, and derivative works requested or         by ACACIA.



                         IP CORE DEVELOPMENT ANJJ LICENSE AGREElt!ENT NO. TGJ1102009
                                                           7 of13




                                                      [Exhibit 3-116]
Case 3:16-cv-00463-BEN-JMA Document 87-2 Filed 02/02/18 PageID.3732 Page 121 of
                                     128




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                                                         HaiCk1l~Otlnd   In£brn11atiion and/or Licensed Ma.terials
        receives                                                                      with respect to the
        p\lfPOSes of the Licensed Products.                                          will     construed as
        conferring by implication, estoppe1 or           upon either      any license or other
        the licenses and           expressly .granted in this Agreement to a party hereto.
        acknowledges that any Backgro\llld Information and/or Licensed Materials it
        VIAS AT under                              valuable property of VIASAT, and may be prc1tected
        copyright law.

                (c)      This              allows ACAClA to copy any Background Information and/or
        Licensed Materials it          from VIASAT under this           only to the       expre$sly
        provided herein. and for archival and back~up                       that         will at ali
        times and in each instance,            all COJ>ynght




         9.




                                                                                          "NDA"), ali information that
           receives from the other           in connection with this                         (including pursuant to a
        SOW), including, but not limited to, all information concerning trade secrets, enl!:im:=erlm!!.
        material, supplies,              equipment,            or other technical                         of
        Party's products or financial, accounting or ma1rkel:ing ,.... .,,,....,..,,.,.tt,Yn
        forecasts, predictions or projections,       customer int<)rm:at1<m
        OWiffi<:)SS, and          information          to the other
        to as •·confidential Informationn). All                  Information shall
        Confidential Information for· purposes of the NDA. The terms of this Clause 9 shaH survive the
        termination of this Aj;J~ee~memt

        10.             to Transfer to the U.S. Government

        For any Licensed Materials subsequently ordered from ACACIA under a U.S. Government prime
        conlract or subcontract (of any tier), ACACIA Rhall have the right, upon written prior notice to
        VIASAT. and subject to. the limits of the license rights granted tmder this Agreement, to transfer
        said Licensed Materials to .the U.S. Government provided that the Government agrees to
        said transfers subject to Restricted Rights as such rights are defined and limited by the Rights
        Technical Data and Computer Software clause in DFARS 252.227~ 7013.




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                                                        [Exhibit 3-117]
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           12.
                                                                                                   and shall have
                                                                                 herc~unc;:ter;
                                                                                            (ii) VIASAT .has the
                                                                                             and (iii) VIASAT's
                                                           Agx·eenlent shall at all times comply with     and all


                          (b)                           and warrants        for a
                                                .oro,ducltton of Licensed Products
                                         Foregrourld Information will conform to the Spe:cifications
        "''"'enf'!r~t"'    and be free from           defects in
        wo1ilan.anship. In the event the Licensed Materials and Fm:·em"ourtd Irctorma1tion
        Speeitications in all material respects, VIASAT shall                                     nonL-co:nfol:nri.Ilg
        Licensed Materials                      Information. VIASAT's
        exclusive          with           of breach of the toregon1g
        error correction or repllacemerlt.

              (c)   EXCEPT AS SPECIFICALLY STATED IN THIS CLAUSE
        LICENSED MATERIALS LICENSED HEREUNDER ARE PROVIDED
        OTHER \V ARRANTY OF ANY      EITHER         IMPLIED OR
        INCLUDING WITHOUT                ANY            WITH RESPECT TO
                          MERCHANTABILITY OR FITNESS FOR ANY
        PURPOSE.


          13:              Limitations




         LIABILITY OF


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                                                            [Exhibit 3-118]
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                                              app11ca~ole U.S. import/export laws and regulations re~:ardln~
               .....m .......u.......   l\11atc~rials
                                 mtctuamg, but not          to; the Anns         Control Act (22
         etseq.)) the              Traffic Arms Regulations           CFR       120 et seq.),
         Administration Act(SO USC 2401 etseq.). Without limiting the                  ACACIA agrees that
         it will not transfer any export controlled-item, data or services to any third party without an
                 license,            or applicable             or exception.

                         Notices

         All formal contractual notices qnder .this         shall be sent via email or tacs1ml11eand
         confinned with a         copy sentbyregularrnail as follows:



                                                                                1000 Winter        Suite4500
                                                                                         Massachusetts 02451
                                                                                ut"''J+h<>vn
                                                                                            510.;1411
                                                                                Fax:


         vVith copy sent to:




                                                                                                Street
                                                                                w <I :lth<:>·,..., MA 02451
         (240) 6864490                                                          781-890-8800
         (240) 686-4810                                                         7 81-622~ 1622
         ted.gatnme11@viasat.com

         Either party may            the above points of contact or addresses by seven (7)                    written
         notice to tlie other party.

         16.            Entire Agreeme:ut

        This Agreement and the ND A, and any referenced attachments                    contains the entire
        understanding between the parties, superseding any and aU prior and contemporaneous
        communications, agreements and l.lllderstandings between the parties with            to the subject
        matter hereof. For the sake of clarity, and without limiting the foregoing,        Agreement shall
        supersede and replace the Interim Agreement This                   may be executed in one or more
        counterparts, each of which is an original, but together constituting one and the same instmment.


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                                                                 [Exhibit 3-119]
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                                                     shall have the same force and
                        <::t01n!'l-hl1r<"r;:n~•ll   be deemed an          and valid i::ll,!i;JUI:HI.u~;;,

        17.


                as may be             authorized elsewhere             neither this             nor agy
                 hereunder. may be sold,                                 a        in any manner without the
        prior written          of the other          Which consent will not be unreasonably withheld,
        conditioned or           Notwithstanding the foregoing, each             will, without. consent of the
        other Party, have      right to         all or any part of                and obligations         this
        Agreeme:nt ·to any successor to an or substantially all of its business that concerns this Agreemelllt
                  m
        (whether connectiqn with a merger, consolidation, or sale of all or Sl)bstantially
              or stock of the       Party). This Agreement will inure to the benefit
                                              ..-....J.,. ...",.ro. their successors and permitted
                                           and ACACIA, The terms of this                  are not a curlua1ci
                   regaramg eotnpc:ns~ltlon, continued employment, or benefit of
                    personnel asSJtgn~.::o to ACACIA's work, or
                                                        will be a mu·a--rmn:v ocme;llct:ary
                                                     shall be ind~epe1:1deJt1t ccmm1ctors




                                                                                                            remainder of
                                                                                                                      or


        19.

        This               shall be          by the laws    the State of           without                        to its
        principles of conflict of laws. The United Nations International Sale of Goods                             shall
        not· apply to this AgreeJmettt.

        20.
        Neither party shall not be liable for any                                           from failure to
        perfonn under thi~               due to causes beyond such         reasonable control, including,
        but not limited to1 acts of God or of the public enemy, acts of the Government in either its
        sovereign or contractual capacity,        floods, epidemics, quarantine restrictions, strikes, labor
        disputes\ embargoes, unusually severe weather, insun·ection or riot In the event of delay
        resulting from any such causes, an equitable adjustment shall be made in the prices set forth in
        this            (if warranted by the delay) and· the              dates hereof shall be extended
        for a reasonable length of time (if warranted by the delay) but no event for less than the period
        of delay.




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                                                                   [Exhibit 3-120]
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        at its own   eXtlertile),
        claim.




                      (c)       Under no circumstances shall VIASAT have any
                    such                  arises from or occurs as result of      the
        combination and/or                            other items not furnished
        a                         or modification at the request of
        owned by ACACIA .or (iv) the failure by ACACIA to imJJ•lerrtent ... u<J,U]<!.!;;""• rc~pla~cernents
                       recommended by                where the infirin~~emLent
        vuu.ug,~::::., re:p1acent1ents or new releases and such
        the functionality of the                                agrees
        and against any claims, liabilities or actions and to pay all
        amotmts              attorneys'                in connection with any          by a        . party
        VIASAT to the extent that such claim arises out of any of the foregoing, provided that VLA.SAT
        promptly .;notifies ACACIA, in writing, of such claims                     that any delay or failure in
        notification shall not relieve ACACIA of its obligations except to          extent it has been prejudiced
        thereby), and provided VIAS AT gives ACACIA the sole right to defend and settle such claim at
        ACACIA's expense with counsel of ACACIA's choice (provided that VIASAT may participate in
        the               and settlement of any such Claim with counsel of its own choosing at its own expense).
        VIAS AT shall cooperate with ACACIA in the defense or settlement of the claim.

                (d)       This Clause 21 spe-Cifies each party's entire liability with respect to l11II~tnE~em1ent
        of third party Inte11ectual Property Rights. VIASAT makes no warranty of non-infringement,
        express or implied. Notwithstanding Clause 13, ViaSat's total Hability for tl1e cost of any award
        of damages and costs, or settlement arising under this Clause 21 shall not exceed an amo.unt equal
        to two (2) times the           amoWlt paid by Acacia to ViaSat pursuant to this Agreement. The
        existence of one or mote claims or lawsuits shall not exceed this amount.

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                                                                                                                     u
                                                       [Exhibit 3-121]
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                                                                                          an authorized
                                                                                  nrcwi1:led   for in this
                                                                                               hereunder.
                                                                          thi~; Agre:emLent is in addition
                                                                                                  will not


         IN WITNESS                              have caused this Af!ree:meJilt to be duly executed in
         duplicate originals by their duly authorized                on the day and year first above
         written.




         (*)                                                                                        shall
         be




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                                                 [Exhibit 3-122]
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                        EXHIBIT 4
      (THIS EXHIBIT IS SUBJECT TO A
      MOTION TO FILE UNDER SEAL)
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                        EXHIBIT 5
      (THIS EXHIBIT IS SUBJECT TO A
      MOTION TO FILE UNDER SEAL)
